Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 1 of 31




         EXHIBIT WW
                       Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 2 of 31

                                                      Page 1                                                           Page 3
 1 THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION         1 watching the stream and you're outside and you're trying
 2                                                              2 to get in, and you aren't on the guest list -- and
 3 In the Matter of:        )                                   3 listen, I want this stream to go well. And we're trying
 4                      ) File No. HO-14164-A                   4 to bring this stream to people that maybe couldn't come
 5 MIRROR PROTOCOL                 )                            5 here in person, right? But because of COVID, because of
 6                                                              6 New York City and the shutdown, because of the venue
 7 SUBJECT: 15_2021.09.21 LIVE FROM NEW YORK TeFi Alpha         7 that we have, it's very hard to get a lot of people in.
 8 2021 - YouTube                                               8 And so, this stream is very important to me because I
 9 PAGES:     1 through 117                                     9 want people that couldn't get in to be able to see
10                                                             10 what's going on tonight.
11                                                             11         So what we're going to do is, we are going to
12                                                             12 have a pregame show. That's me and you here.
13                                                             13         PETE: Yep.
14                                                             14         EVAN: We're going to do this for about 40
15                                                             15 minutes, and then once we wrap up, we're going to take a
16             AUDIO TRANSCRIPTION                             16 quick intermission. And then, we'll actually go to the
17                                                             17 presentations which are going to happen behind us on the
18                                                             18 stage. So I think it's going to be a lot of fun.
19                                                             19         PETE: Yeah, we're going to have some guests
20                                                             20 that don't like, check out for 40 minutes because that
21                                                             21 was just Pete and Evan for 40 minutes because we're
22                                                             22 going to have some guests from your favorite protocols
23                                                             23 coming up here to take that third chair over there and,
24        Diversified Reporting Services, Inc.                 24 you know, chat with us about their experience here.
25               (202) 467-9200                                25         EVAN: Yeah, absolutely. And actually, I just
                                                      Page 2                                                           Page 4
 1               PROCEEDINGS                                    1 realized that my -- my intern, Steph, didn't turn our
 2 15_2021.09.21 LIVE FROM NEW YORK TeFi Alpha 2021 -           2 light on before we got started, and now he's laughing.
 3 YouTube                                                      3 So it's a little dark here, you know. We try to make
 4         EVAN: All right, everybody. Welcome to               4 things have good production value around here. But
 5 Terabytes (phonetic). Welcome to TeFi Alpha New York,        5 anyway, so there's going to be a lot of presentations
 6 the very first edition of TeFi Alpha. We're very             6 tonight. There's over 15 presentations that we're going
 7 excited to bring you this Alpha event I would call it.       7 to bring you from within the ecosystem.
 8 But before we get into anything fun, here's the boring       8        Some of these projects, you've definitely
 9 stuff. Nothing we say is investment advice. No tax,          9 heard of. Some of them, you're not going to have heard
10 legal, financial, or any kind of advice. Would you take     10 of before. Something like Andromeda, who they did apply
11 advice from a guy that looks like this? I wouldn't. So      11 for a community grant, right, but they've been working
12 please, don't construe anything we say as advice. We're     12 pretty heads down since then. And we met with the team
13 just strictly here for entertainment and fun. Right,        13 a couple days ago and last night, and there's just --
14 Pete?                                                       14 everybody's really holding their announcements in until
15         PETE: Yeah, yeah. Do your own research,             15 tonight. So it's going to be a lot of fun. And I'm
16 consult with professionals, all that. We're not             16 curious, Pete, like, what project are maybe you looking
17 professionals. But you know what, I was having a hard       17 forward to hearing from the most?
18 time hearing part of that disclaimer because it is just     18        PETE: Oh, man. So many projects. I mean,
19 so loud in here. So many --                                 19 our -- the White Whale video I've heard. I haven't seen
20         EVAN: Very loud.                                    20 them myself, this guy has apparently, but White Whale
21         PETE: -- people. There's people waiting at          21 video I've heard is great. Alice video I've heard is
22 the door. They didn't get tickets. But they want to         22 great, you know. There's some with high production
23 get in. And we want to let them in, but you can hear        23 value.
24 how many people there are. It's just packed out.            24        EVAN: Wait. Did you just Alice?
25         EVAN: Yes. So I will tell you if you're             25        PETE: Yeah. Alice.

412433.20220929-HQ                                                                                                Pages 1 - 4
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 3 of 31

                                                     Page 5                                                            Page 7
 1         EVAN: Who is Alice?                                 1         EVAN: Crashed stocks. I mean, but we saw it
 2         PETE: I -- I mean, does anyone know who Alice       2 on the TVs yesterday. We never watch TV, but you're in
 3 is? You do. You've seen the video.                          3 a hotel. They're on, right?
 4         EVAN: I -- I might have seen a little bit of        4         PETE: And everything's red, red, red.
 5 it, but Alice, Andromeda, there's going to be a ton of      5 Negative, negative, negative. S&P down, all sectors
 6 projects out there that again, maybe you've heard of,       6 down. Real estate crashing. Another giant falls. And
 7 maybe you haven’t. And I'm just looking forward to the      7 that bled over a little bit. But yeah, I mean, people
 8 entire event as a whole. I think it's going to be a lot     8 are starting to feel like conferences are still sell the
 9 of fun. There's going to be some -- some videos that        9 news, and this is the biggest probably crypto conference
10 people are presenting. There's going to be people          10 of this year in the United States.
11 actually getting up and talking. And you know, leading     11         EVAN: Right, right.
12 up to this, I just feel like the community's like,         12         PETE: So there was -- for those of you don't
13 exploding. You know? It's crazy.                           13 know, Ms. Sari (phonetic) (inaudible) that conference
14         PETE: The comments are exploding right now.        14 was here in New York City this week. Which is why so
15 You can tell who's the humble bagel shop owner versus      15 many, the whole Terraform Labs team, is here.
16 the guy who lives in Florida. Yeah, you know what?         16         EVAN: And I know people in the comments are
17 This guy told me he was buying a sport coat and was        17 asking us to drop some Alpha. Maybe I can drop some
18 going to dress up. So I went out and bought clothes for    18 Alpha for them. Pete and I, you know, our job is to ask
19 this event, and I show up and he's in this sweatsuit.      19 honest questions. And yesterday there was some rumors
20         EVAN: All I can afford is a hoodie, man.           20 circulating that maybe someone got served a subpoena
21 That's all I can afford. So I don't know what to tell      21 from the SEC, and I can say we talked with guys from
22 you.                                                       22 Terraform Labs, and they said that was not true.
23         PETE: Where is your sport coat? You're not         23 Whether it was true or not, we talked to them and they
24 even wearing it.                                           24 said it was not true.
25         EVAN: Yeah, it's back here. It's just too          25         PETE: I mean, the community has conjectured
                                                     Page 6                                                            Page 8
 1 hot in here. All these people, you know, and the          1 because of a tweet from Mike Arrington.
 2 energy.                                                   2        EVAN: Arrington, yes.
 3        PETE: It is. It is, yeah.                          3        PETE: Saying one of his projects was -- and
 4        EVAN: The conversations behind us, yo,             4 of course, Ryan Selkis (phonetic) said he's going to run
 5 Terabytes intern. Can you make sure that people that      5 for Senate because the SEC came in and served somebody.
 6 are trying to get up here for the third chair make it up  6        EVAN: They crashed the party.
 7 here because they might get like, blockaded. There's      7        PETE: Yeah, yeah. Right, right.
 8 people we invited up here. Just like -- (inaudible)       8        EVAN: right.
 9 just make sure they get past the wall.                    9        PETE: But you know, it could be somebody else
10        PETE: Yeah, we're going to have a couple          10 or maybe it's -- maybe they saw the rumors too.
11 people come in and actually join us. We got Midas.       11        EVAN: Exactly. Yeah.
12 People are going to see Midas --                         12        PETE: I mean, people are people like us, and
13        EVAN: Yeah.                                       13 they read Twitter and eventually you get convinced.
14        PETE: Maybe -- not for the first time, but        14        EVAN: So I don't know.
15 maybe for the first time. We met Midas in person. It's 15          PETE: Right.
16 been really cool the last couple of days to actually     16        EVAN: We'll find out hopefully a little bit
17 meet all the characters, all the developers and all the  17 more at some point.
18 projects that are within the ecosystem. And you know, 18           PETE: Yeah.
19 maybe people -- it seems like -- I don’t know. Maybe     19        EVAN: So I do want to run through kind of
20 you think the same way, but does it seem like events are 20 sequence of events.
21 always like a sell the news thing?                       21        PETE: Sure.
22        EVAN: Well, there's -- I mean, there's so         22        EVAN: Again, for everybody that's just
23 much else happening right now, right? Crypto in general 23 joining here, we've got like, a little under 500 people
24 took a downturn after that China real estate thing.      24 watching live. So I appreciate everybody that's
25        PETE: Right, right, right.                        25 watching us live. We -- it's going to be Pete and I

412433.20220929-HQ                                                                                               Pages 5 - 8
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 4 of 31

                                                       Page 9                                                         Page 11
 1 here for about another 30 minutes. We're just going to        1         EVAN: Yeah, yeah, absolutely. And I'll tell
 2 have basically a normal Terabytes episode, but the            2 you what, just to get back to -- on track with sort of
 3 difference is we're going to have some live guests jump       3 our sequence of events tonight, there will be a question
 4 on. Steph, can you show the wide angle for them? We've        4 and answer panel at the end of tonight. That's going to
 5 got a third chair here. So we're going to invite some         5 feature Do Kwon and Tor Bear (phonetic) from Secret
 6 people to come and join us tonight and talk with us and       6 Protocol, and a couple of other -- maybe newbies that
 7 chat with us. And then we're going to take an                 7 you haven't met before. There will be four of them.
 8 intermission that'll be about five to ten minutes. But        8 Steph, bring up the tweet. So if you head over to
 9 when we come back, we're actually going to show the           9 lunalute.com (phonetic) -- or, no, sorry. Lunalute.com
10 presentations themselves. And again, this is very            10 on Twitter, they're hosting -- he is hosting the
11 important to me and Pete, you know, as Terabytes, our        11 discussion panel at TeFi Alpha. So what you'll be able
12 job is to bring you guys information in the community.       12 to do is just answer this -- this tweet, this thread
13 And again, I feel very bad that we couldn't have an          13 specifically, and you will be able to join
14 event where it was like, if you want to come, just come      14 -- or, you won't be able to join, but we might actually
15 in, you know. And it's just, it's the timing. You            15 read your question tonight to this panel. It consists
16 know, we talked about it but hopefully tonight in the        16 of Do Kwon, it consists of Johnsy St. John (phonetic)
17 stream, we can bring you guys just as much Alpha and         17 from Angel Protocol, it consists of Super Fly who again,
18 real time as everybody else. So I'm very excited for         18 he might be a new face, but that's actually Andromeda
19 tonight, and who's our first guest? Who's coming on?         19 who tonight (inaudible) debuted on Ball. And then Tor
20         PETE: We're supposed to have somebody from           20 Bear from Secret who, if you're not familiar with this,
21 Andromeda coming up. I could understand if they're a         21 is a privacy protocol that's working very closely with
22 little caught up down there. I just sent Terabyte's          22 Terra and with the LUNA ecosystem. So, again, head over
23 intern who's pretty anonymous, yeah, just Terabyte's         23 to Lunalute's Twitter and submit your questions and they
24 intern. I sent Terabyte's intern down to, you know, try      24 might get asked live.
25 to bring them up or find them. We'll see how that goes.      25         PETE: And you know, that person from --
                                                      Page 10                                                         Page 12
 1 Otherwise, we'll just have to continue the show until         1 actually, we got him right here today, right now, the
 2 the next guest.                                               2 person from Andromeda Protocol. Let him introduce
 3         EVAN: Yeah, absolutely.                               3 himself.
 4         PETE: We've got like, maybe six lined up to           4         EVAN: Finally.
 5 try to sit in that chair with us today. The chat is           5         PETE: I know he's done some work --
 6 exploding. Mostly positive comments about sounds like         6         EVAN: Late to the party, sir.
 7 you two have had a couple of wobbly pops. Says                7         PETE: -- on Ethereum before, some work on
 8 (inaudible) --                                                8 some very relevant things. We'll let him share --
 9         EVAN: What's a wobbly pop?                            9         EVAN: It's very hard to hear, even though
10         PETE: I don’t know, but give me some of              10 we're sitting right next to each other.
11 those.                                                       11         PETE: Yeah, it is (inaudible) --
12         EVAN: Let me get a wobbly pop then. I want a         12         EVAN: So you're to talk right into that
13 wobbly pop. Go ahead.                                        13 microphone. So go ahead and introduce yourself, your
14         PETE: And so and we got -- we Star Terra             14 project, what's it all about?
15 (phonetic) coming. So I will remind the community that       15         MR. MARX BAILEY: Boy, that's a lot -- it's a
16 every, like, tension is on hold right now for TeFi           16 lot to talk about right now.
17 Alpha.                                                       17         EVAN: All of it.
18         EVAN: Tension is on hold.                            18         MR. MARX BAILEY: On the spot.
19         PETE: Both projects in question in the recent        19         EVAN: On the spot.
20 controversy are here. They've talked. They've had            20         MR. MARX BAILEY: Yeah. So my name is Cody
21 beers. Their logos are on the wall. They're both             21 Marx Bailey. I'm one of the core contributors to the
22 presenting in some way. So, you know, just -- yeah,          22 Andromeda Protocol. We got started back in May with a
23 we're going to hold off on that. We can resume               23 grant from Do Kwon, personal grant. He saw something,
24 discussions, sure, but we're waiting until a little bit      24 you know, I told him what I was doing and what I wanted
25 later for that, I think.                                     25 to kind of pull off, and worked on that for about three
412433.20220929-HQ                                                                                               Pages 9 - 12
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 5 of 31

                                                       Page 13                                                           Page 15
 1 or four -- for about three weeks. Showed him that the          1        EVAN: The original NFTs, this guy right here.
 2 proof of concept, and then he was like, all right, I           2        PETE: This guy.
 3 think you're ready. Go get a community grant. So we            3        EVAN: He did it all by himself.
 4 went out and did the whole Agora (phonetic) post thing,        4        MR. MARX BAILEY: No, no, no, no, no. Not by
 5 and did the song and dance.                                    5 myself. I had a hand in it, not -- yeah, I was not the
 6        EVAN: Oh, so you had already talked to Do               6 main guy, but yeah.
 7 before you even put that community proposal forward.           7        EVAN: So then tell us, you know, you've been
 8        MR. MARX BAILEY: I thought it was smart to              8 around for a while, and I've seen some very bullish
 9 get buy-in from the right guys.                                9 sentiment from you, like tweets about why LUNA is -- I
10        EVAN: I think that is a smart move. Yeah.              10 mean, you've been there since the beginning. So, tell
11 So -- well, tell me a little bit about your background,       11 me, like, why did you come to LUNA? What makes it so
12 too. Because there's a story there, right?                    12 special for you and why did you choose this protocol to
13        MR. MARX BAILEY: Yeah, yeah. So one of the             13 build Andromeda on?
14 funny things that people ask me all the time is so when       14        MR. MARX BAILEY: Yeah, so -- so what brought
15 did you get into blockchain, right? That's a common           15 me to LUNA was -- well, actually, what brought me to
16 question --                                                   16 LUNA was a Mirror because I was looking at synthetics.
17        EVAN: Yeah.                                            17 I'm a finance guy. I'm not a -- I'm not a digital Nikes
18        MR. MARX BAILEY: -- for this kind of stuff.            18 and rainbow unicorn NFT guy. I don't really -- I don't
19 And it's all I can tell people that I got into                19 really do a lot of the -- it's really loud in here.
20 blockchain back in the mid-90s, and they're like, mid-        20        EVAN: Yeah, it is very loud. So sorry if you
21 90s, what the? What the hell does that mean? And I'm          21 can't hear us.
22 like, well, I was working on a lot of the technologies,       22        MR. MARX BAILEY: I'm going to speak really
23 the databases, the distributed, you know, networks, the       23 loud. So yeah, we saw a -- I was always -- I wanted to
24 (inaudible), that kind of stuff, like, playing with all       24 see what -- I wanted to see NFTs going the way of robust
25 these tools that were out there. So it was a matter of        25 finance products like bonds and insurance. The real,
                                                       Page 14                                                           Page 16
 1 like, around 2009, 2010, when blockchain came around, I        1 you know, the real fun stuff in life, right? But that
 2 was like, oh, yeah, I get all this stuff. Like, oh, you        2 was -- because that's where the money's at, right? And
 3 took a little bit of this, little bit of that, little          3 so after four years of hanging around on Ethereum, being
 4 bit of this, and made kind of a stone soup, but I mean,        4 like, guys, when are we going to like, move on from
 5 I get how this thing works.                                    5 like, digital rocks and like, apes and digital Nikes and
 6          EVAN: Right, right, right.                            6 rainbow unicorns. I wanted to see some real, real
 7          MR. MARX BAILEY: And then -- but as an                7 value.
 8 engineer, I didn't see much with Bitcoin. I'm going a          8         EVAN: Yeah.
 9 long way, but I'll get there. And then when Ethereum           9         MR. MARX BAILEY: And so I was looking at
10 was announced, it was like, oh, shit. Okay. Smart             10 synthetics. I was actually on Ethereum. And so I was
11 contracts, I can actually build something on top of this      11 like, well, if you like synthetics, you should go check
12 network, that's a big deal.                                   12 out this Mirror protocol. I was like, all right, cool.
13          So I got big into Ethereum, saw the way things       13 So I wandered over, and I was like, well, this is really
14 were doing on, you know, rode the hype waves and all the      14 -- oh, and you don't have to like, you can back it with
15 -- all the -- all of that, and in 2017, when there was a      15 US -- UST, and you only have to do like, 150 percent
16 group of us that got together to sort of say, okay, we        16 collateral, not 800 percent with synthetics.
17 need -- we need to build this ERC721 concept out, like,       17         EVAN: Right, right, right.
18 build a standard like, we have the ERC20s. And so I got       18         MR. MARX BAILEY: So I was like, man, that's
19 on board really quick with that.                              19 huge. That's a huge deal. Well, the hell is this UST
20          EVAN: What is that, ERC721? Explain that.            20 thing? Oh, boy. Oh, senorage (phonetic) there's a new
21          MR. MARX BAILEY: That's the -- yeah, so              21 term. Oh, wow, what is this? So then I found out
22 that's the NFT standard on Ethereum.                          22 (inaudible) to LUNA. So I started looking at the smart
23          EVAN: NFTs on Ethereum?                              23 contracting languages, and I was like, oh, you all are
24          MR. MARX BAILEY: Yeah. (crosstalk) from the          24 using a dog shit of a language like Silivity (phonetic)?
25 beginning.                                                    25 You're actually using rust? Like, this is a real --

412433.20220929-HQ                                                                                                Pages 13 - 16
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 6 of 31

                                                      Page 17                                                     Page 19
 1 like, this is a real language. I can -- I can do -- I         1        PETE: I can't hear a thing. I've been
 2 can do a lot with -- I can do a lot with this.                2 hearing snippets here and there, so apologies. But it's
 3         EVAN: Right.                                          3 been great having Cody from Andromeda Protocol.
 4         MR. MARX BAILEY: And that's what turned me            4        EVAN: Yeah. You've got to come on the show
 5 on. I was like, man, so for four years when I was over        5 soon. And I've seen people already plugging your
 6 on Ethereum I wanted to get stuff done. I wanted to           6 Twitter handle in the comments here saying this guy --
 7 build these like, really cool protocols and do some           7        MR. MARX BAILEY: Yeah.
 8 really neat stuff. But you can't. Because it costs you        8        EVAN: -- is super interesting. You got to
 9 $80 per transactions. The L2 solutions are crap to work       9 follow him. Can't wait to see more.
10 with. I mean, it's like a -- a list of things that if        10        MR. MARX BAILEY: Yeah, I'm --
11 you would just like, take a step back from this like,        11        EVAN: So drop your Twitter handle for people
12 Ethereum beast that, you know, brought you so much           12 in the comments.
13 wealth and so much like, you know, great things, like,       13        MR. MARX BAILEY: I don't even post on Twitter
14 take a step back and see like, maybe there's something       14 much anymore, man.
15 better over here, a third-generation chain.                  15        EVAN: Well, there you go.
16         EVAN: Right, right.                                  16        MR. MARX BAILEY: I'm pretty -- I'm pretty
17         MR. MARX BAILEY: And when I saw that, it was         17 quiet. Super Phly with a P-H.
18 like, boom, I got the team together, POC from Do, got        18        EVAN: But Andromeda, maybe, they want to hear
19 the MVP going with this grant. Now, luckily, we got the      19 about Andromeda.
20 grant denominated in LUNA, when LUNA was $5. So that         20        MR. MARX BAILEY: Andromeda Prot, p-r-o-t,
21 was --                                                       21 because we couldn't get protocol, and you know, you do
22         EVAN: Smart move, smart move.                        22 what you can.
23         MR. MARX BAILEY: Yeah. So --                         23        EVAN: It's faster to type.
24         EVAN: So that let's you buy in a lot more,           24        MR. MARX BAILEY: So it's Andromeda Prot.
25 right, to the whole ecosystem?                               25        PETE: Common abbreviation for protocol. We
                                                      Page 18                                                     Page 20
 1          MR. MARX BAILEY: Yeah, yeah, yeah.             1 use it all the time.
 2          EVAN: You're doing it to build the ecosystem?  2        (crosstalk)
 3          MR. MARX BAILEY: We're here for the long       3        EVAN: Would you say that's Andromeda Prot or
 4 haul.                                                   4 Prot?
 5          EVAN: Yeah.                                    5        MR. MARX BAILEY: Prot, I guess, yeah, but it
 6          MR. MARX BAILEY: So with Andromeda, a lot of 6 looks like Prot to me. So anyway, and then on there you
 7 people ask us, like, you know, there's the whole Win    7 can find our telegram, we're probably going to be more
 8 token joke and everything. But we're not even -- we're  8 active and stuff like that. So --
 9 not focused on that right now. We're here to build      9        EVAN: Cool.
10 about 80 -- we've got about 15 people on staff. We'll  10        MR. MARX BAILEY: Hey, yeah.
11 be at 15 by the end of the month, and about 85, 90     11        PETE: All right. We've got our next guest
12 percent of that is engineers. Because we're here to    12 on. Thanks so much, Cody from Andromeda Protocol.
13 build. We're here to make something. We're not worried 13        EVAN: Thanks, Cody.
14 about like -- if you look at our Twitter account, it's 14        MR. MARX BAILEY: My pleasure, my pleasure,
15 not very active.                                       15 guys. See you all soon.
16          EVAN: Yeah.                                   16        EVAN: Thank you.
17          MR. MARX BAILEY: If you look at our Discord,  17        PETE: We've got to have you on the show
18 all of our -- all of our -- we're here, we're building 18 (inaudible).
19 right now. We're heads down. We've been in stealth     19        EVAN: Andromeda is going to be doing a
20 mode only -- only because we didn't want to have a lot 20 presentation tonight. So keep an eye on the show, we're
21 of distraction. So that's why you've probably heard of 21 going to -- again, we're going to go to intermission
22 us, but you haven't heard much from us.                22 first. We're going to go to intermission first and
23          EVAN: Right. Right, right, right. And I       23 after this pregame show, and then we'll come back with
24 don't know if Pete can even hear you. That's how loud 24 all the presentations. So you'll be able to hear from
25 it is --                                               25 Cody and the Andromeda team.
412433.20220929-HQ                                                                                          Pages 17 - 20
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 7 of 31

                                                    Page 21                                                         Page 23
 1          PETE: By the way, before our next guest, the       1 know, like, we run a validator. We try to bring
 2 chat has decided you're on wobbly pops and cocaine.         2 information to the community.
 3          EVAN: Hey, I think that it's just lack of          3        PETE: Yeah.
 4 sleep, loud noise, bright lights, and dealing with these    4        EVAN: That's what we bring to the community.
 5 interns. I might be on -- what was it? Wobbly pops?         5 What does Orbital Command do? Why should people stake
 6          PETE: Wobbly pop, yeah.                            6 with you guys?
 7          EVAN: I might be on all that. Who knows,           7        PETE: Yeah.
 8 man? It's going crazy out here. We got our next guest.      8        EVAN: Are you looking for people to stake
 9          PETE: New York City for you, New York City         9 with you? I mean, like, tell me the whole story.
10 for you.                                                   10        SHA: Yeah, absolutely. We'd love for people
11          EVAN: Let's -- let's give it up for Sha           11 to stake with us. We are just trying to contribute back
12 (phonetic) from Orbital Commands.                          12 to the community just like you guys. We run an
13          SHA: What's going on?                             13 announcement channel called the Orbital Command Intel
14          EVAN: Hey.                                        14 Report, and I feel like most of the Lunatics out there
15          SHA: What's up, my (inaudible)? What's up my      15 know that we like, provide all the hottest Terra news as
16 lunatics? Hoo hoo.                                         16 it drops, new apps, new information announcements.
17          EVAN: So we got Sha here from Orbital             17        EVAN: Right.
18 Command, and you got to talk real close to that mic        18        SHA: And we helped sponsor this wonderful
19 because it's loud as heck in here.                         19 event that you guys put on.
20          SHA: Yeah. It's loud AF.                          20        EVAN: Absolutely.
21          EVAN: So Sha, you were one of the first other     21        SHA: And we try to do as much as we can.
22 validators that we really like, vibed with and got in      22 We've helped create other (crosstalk) --
23 touch with. So like, what's your story? Well, first of     23        EVAN: You guys have a presentation tonight as
24 all, tell me about Orbital Command.                        24 well.
25          SHA: Yeah.                                        25        SHA: We do. We got a little video, you know,
                                                    Page 22                                                         Page 24
 1         EVAN: And then maybe tell me your story about       1 so yeah.
 2 LUNA and like, how you got into that.                       2        (laughter)
 3         SHA: Yeah, yeah. I was messing with like,           3        SHA: Uh-oh. The big guy's here.
 4 elastic -- elastic supply tokens back in TeFi summer,       4        EVAN: All right, all right. Sha, thanks so
 5 and like, I was playing with Ampleforth, which is a lot     5 much. We're going to have you on a (inaudible).
 6 of fun, and a cool idea. And then I made a lot of           6        (crosstalk)
 7 money, lost a lot of money, but I was like, this is an      7        SHA: Thanks, guys.
 8 interesting idea, the supply -- elastic supply token.       8        EVAN: Thanks, Sha, Orbital Command.
 9 Then I found a paper that talked about Terra and I was      9        SHA: Stay crazy out there, Lunatics. Stay
10 like, oh, this is pretty interesting. And then you         10 crazy.
11 know, I just started falling down the rabbit hole.         11        PETE: Oh, Do almost walked in front of the
12         EVAN: So he's coming up here?                      12 camera, awesome.
13         PETE: Yeah, yeah, keep going.                      13        EVAN: Continue being Lunatics. Could you
14         SHA: Okay. Yeah, I just bumped into Do. Is         14 tell our next guest to kindly come over here?
15 that what you're talking about?                            15        PETE: All right. We've got Do Kwon. Some of
16         EVAN: Yeah, Do's barely coming up here very        16 you may know who he is. You know, cofounder of
17 soon. So -- hey, Steph, Steph, you can also feel free      17 Terraform Labs.
18 to use the camera angle that shows -- shows our            18        EVAN: I definitely have a bone to pick with
19 brilliant guests.                                          19 him and his -- his tweet that told anybody that wants to
20         (crosstalk)                                        20 come in, come in.
21         PETE: But when he comes up, Sha's off. So          21        PETE: (crosstalk) people came in.
22 let's -- you know --                                       22        EVAN: I don't know if they came in. Let's
23         SHA: Yeah, let's talk fast, dude. I'm going        23 get him over here. We're ready for him. The man, the
24 to get bumped real quick.                                  24 myth, the legend himself, Mr. Do Kwon. How are you,
25         EVAN: So tell me about Orbital Command. You        25 sir?
412433.20220929-HQ                                                                                           Pages 21 - 24
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 8 of 31

                                                    Page 25                                                         Page 27
 1        MR. KWON: Pretty good.                               1        EVAN: And Pete probably can't hear you,
 2        EVAN: It's a pleasure. This actually -- this         2 honestly.
 3 actually is the first time we've met Do in person           3        PETE: No, I can't hear --
 4 although we've had him on the show multiple times, so       4        EVAN: It's so loud in here --
 5 you're a lot shorter than I thought you would be.           5        PETE: -- anything the guest says.
 6        MR. KWON: Dude, I'm 5'11".                           6        EVAN: -- Pete can't hear you. So just ask a
 7        (laughter)                                           7 random question, I guess.
 8        EVAN: So Do, first of all, I got a bone to           8        PETE: I took the last Do interview by myself,
 9 pick with you.                                              9 so you take it. Go.
10        MR. KWON: Yeah.                                     10        EVAN: Well, I mean, what else? I don't know.
11        EVAN: You sent a tweet out and you told             11        (laughter)
12 anybody that wanted to come in, to come in. Did you        12        EVAN: I mean, but -- so I understand that
13 bring a whole entourage in?                                13 cycle, right? That LUNA cycle, that's your motto. You
14        MR. KWON: So I told Kevin in front of the           14 guys have been trying to decentralize. But I mean,
15 door, if you want to get in, we're going to try to sneak   15 behind us, it's so loud because there's like, hundreds
16 you in.                                                    16 of people here. They're knocking on the door. We're
17        EVAN: Yeah. Did you find the fire exit to           17 going over the fire limit. They're going to shut this
18 get him in?                                                18 party down, probably. I mean, how does that make you
19        MR. KWON: Yo, I took care of that guy, don't        19 feel to see all these people that are like, so into to?
20 worry about it.                                            20        MR. KWON: I'm overwhelmed, to be honest with
21        (laughter)                                          21 you.
22        EVAN: Awesome. So Do, you're going to be            22        PETE: You got to get close to the mic.
23 leading off tonight with you (inaudible) 15-minute, ten-   23        MR. KWON: Yeah. So we went through tons of
24 minute, whatever you want to do. This even really kind     24 different cycles at Terra, right? So in the beginning,
25 of came together like from the community. Do had           25 we were just a company. We were trying to build as many
                                                    Page 26                                                         Page 28
 1 absolutely to do with this. In fact, I had to DM Do and   1 applications as possible to make Terra stablecoins
 2 be like, hey, just so you know, you're going to do a      2 useful. Then we sort of turned into an app factory. We
 3 speech at the beginning and like a panel at the end.      3 -- the focus was still on stable coins, but we're trying
 4 And he was like, okay, cool. He didn't even know.         4 to create tons of products and make these stablecoins
 5 Like, what are your feelings seeing this entire           5 useful.
 6 community built around something that was like, once      6          And then now, we're sort of in this period
 7 your idea? And you like, you had a tweet today that was 7 where there's tons of organizations, both established
 8 like, nothing to something, maybe back to nothing, and    8 and starting up, that are trying to perpetuate the
 9 we can get into that. But just, like, seeing all these    9 legends, trying to create new things, trying to
10 people that are so avid about LUNA.                      10 decentralize the world. That I'm super humble and
11         MR. KWON: You know, so the way that I think      11 amazed at the amount of progress that we've made so far.
12 about it is that anything that stands the test of time,  12          EVAN: You've done a spectacular job.
13 it's a cycle of life. You begin from nothing and go      13 Everybody's impressed. Everybody loves it. There's a
14 back to nothing. That's exactly where I want to be. So 14 reason there's like a fever pitch around here. And so
15 I think Terra is going to be the decentralized money     15 tell me a little bit more about that plan to like,
16 standard across the entire blockchain, across all the    16 disappear? What do you see the timeline of that being?
17 blockchains. And I'm excited for Terraform (inaudible) 17 And how do you see doing that, especially with like,
18 contributes a significant portion of that early vision,  18 Columbus 5 upgrade and especially with, you know, so
19 but eventually, to go back to nothing.                   19 many new protocols that might need your support in order
20         EVAN: Right.                                     20 to integrate with that?
21         PETE: Yeah.                                      21          MR. KWON: Yeah. So two things. Number one,
22         MR. KWON: Excited.                               22 we have sort of a -- something called a protocol
23         EVAN: And then be purely that decentralized      23 Armageddon at the company. So a protocol Armageddon is
24 community like you've been talking about forever, right? 24 is it's a kill switch. So whenever we feel like we're
25         MR. KWON: Right. Exactly.                        25 no longer in a position to be able to best serve the

412433.20220929-HQ                                                                                           Pages 25 - 28
                 Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 9 of 31

                                                        Page 29                                                          Page 31
 1 community, we pull the trigger and 24 hours, we're gone.        1         PETE: Yeah.
 2 We burn all of our assets. We cut all of our ties, and          2         EVAN: And they could've quit so long ago, but
 3 it's nothing. So that's just in case where things move          3 they kept going. They kept going, and now, they finally
 4 a little bit faster than we're anticipating.                    4 reach a critical mass where you can have sort of other
 5          But the way that we're thinking about it is            5 projects and other founders carry it across the finish
 6 that our main role is to be able to get to a state where        6 line. It doesn't have to be a TFL anymore.
 7 people are no longer asking the question is USC going to        7         PETE: Yeah. By the way, Steph, we should --
 8 be around the next ten years? And that's our vision.            8         EVAN: There he is.
 9 We want to get to a state where the most decentralized          9         PETE: -- kill that mic when nobody's on it.
10 form of money is the most trusted.                             10 All right.
11          EVAN: Yeah.                                           11         EVAN: Who are you?
12          MR. KWON: And you know, I think we're maybe           12         UNIDENTIFIED SPEAKER: I'm freaking nervous,
13 about -- a good chunk of the way there, but I think in         13 you all.
14 the next two or three years, we should be able to get to       14         EVAN: Why are you so nervous?
15 a state where that's possible.                                 15         UNIDENTIFIED SPEAKER: I just met my idol.
16          EVAN: Amazing, amazing. All right. Well,              16         (laughter)
17 thanks, Do. I know you're talking again in like 15, 20         17         EVAN: Well, what did he say to you?
18 minutes, right? You're kicking us off. So we're going          18         UNIDENTIFIED SPEAKER: Oh, he was -- he
19 to hear from Do again really soon in about 20 minutes.         19 thanked me for the -- the work that I've done for LUNA.
20 I didn't hear anything you said, so I'm going to have to       20 So --
21 go watch it again. It's just so loud, but thanks so            21         EVAN: You have to talk really loud into that
22 much for coming on.                                            22 mic.
23          PETE: Thanks, Do.                                     23         UNIDENTIFIED SPEAKER: Man, I'm freaking
24          MR. KWON: Yeah.                                       24 nervous. What can I tell you? I'm pumped.
25          EVAN: We appreciate it, man.                          25         (laughter)
                                                        Page 30                                                          Page 32
 1         MR. KWON: Yeah, exactly. All right, see you             1        EVAN: What -- of all the presentations
 2 guys soon.                                                      2 tonight, all the protocols, is there anyone that you're
 3         EVAN: And Do will be back on. He's going to             3 like, particularly excited for?
 4 be the first presenter once we get to the actual                4        UNIDENTIFIED SPEAKER: Mars Protocol of
 5 presentations. And it won't be so loud in here once             5 course.
 6 that actually happens.                                          6        EVAN: Of course. Mars Protocol.
 7         PETE: Yeah, you know what? You know what, we            7        UNIDENTIFIED SPEAKER: Of course. Mars
 8 need somebody like Midas -- Midas to come on the show.          8 Protocol. Yeah.
 9 Midas. Midas.                                                   9        EVAN: And tell me a little bit because, you
10         EVAN: Esteban. This way -- the first meeting           10 know, Terra's worldwide, stablecoins are worldwide.
11 between Midas and Esteban is happening off camera right        11 Tell me a little about the Lunaticos in the Spanish-
12 now, so. Or Midas and Do.                                      12 speaking community because you've been a big, like,
13         PETE: And Midas is (inaudible) with Do here.           13 influencer in that community.
14 So --                                                          14        UNIDENTIFIED SPEAKER: Yeah. So back when I
15         EVAN: (laughter)                                       15 joined Terra, I didn't find any group of Spanish
16         PETE: So, you know, we'll give them a minute.          16 lunatics. So I had to create one. And I created one on
17         EVAN: It was impossible to hear Do, so not             17 (inaudible) and I can see that it has started to grow
18 the best like, conditions here in order to ask him some        18 like crazy. We have a lot of people from Argentina,
19 really interesting questions about, you know, that plan        19 from Mexico, from Colombia, from different places around
20 to decentralize and actually turn this into a community        20 -- from Spain as well. And it's been a great community
21 and a network. And I think it really does play off of          21 because they all help each other. They are super giga-
22 how many people you see here. You know, one of the             22 brain chats, you know, it's kind of like what happens on
23 things that I really admire about TFL and about like,          23 Terabyte's podcast group.
24 the Terra stablecoins is they were under the radar for         24        EVAN: Right, right. Yeah.
25 so long, right?                                                25        UNIDENTIFIED SPEAKER: But in Spanish.

412433.20220929-HQ                                                                                                Pages 29 - 32
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 10 of 31

                                                        Page 33                                                          Page 35
 1           EVAN: Absolutely.                                     1 to speak publicly to everyone. And maybe this time I'll
 2           UNIDENTIFIED SPEAKER: You know? And --                2 actually hear him. But we've got Mike over here. Where
 3           EVAN: How would you compare the Spanish-              3 is Mike? He's hiding all the way back there. Mike from
 4 speaking community to the English-speaking community? I         4 Apollo. No, Ian. Oh, all right. Sure. Are you
 5 mean, I would imagine the English-speaking community may        5 joining?
 6 be a little bit more broad, but is there like a -- is           6        PETE: Somebody other than Mike came.
 7 there a nice fever about LUNA in the Spanish-speaking           7        EVAN: You got to really talk close to that
 8 community like there is in the English-speaking                 8 mic because it's loud in here.
 9 community?                                                      9        (crosstalk)
10           UNIDENTIFIED SPEAKER: I think -- I think it's        10        PETE: You're coming on next.
11 very similar, you know, the spirit, the emotion, the           11        IAN: Hello.
12 (inaudible) -- people being bullish on Terra. I think          12        EVAN: Who are you, sir?
13 it's happening all around the world. It doesn’t matter         13        IAN: CTO (inaudible) --
14 if it's lunaticos or if lunatics in English. I can see         14        (crosstalk)
15 the same spirit. I can see --                                  15        EVAN: And what do you do?
16           EVAN: That's awesome.                                16        IAN: What do I do? I'm the CTO of Anchor
17           UNIDENTIFIED SPEAKER: -- people building.            17 (phonetic). I also run Evaladata (phonetic), we'll that
18 One thing that we have on the Spanish community is that        18 one alone.
19 we have a lot of builders. Like the guy that started           19        (laughter)
20 the Harpoon thing (inaudible), he was from -- he's from        20        IAN: I'm a fan. What can I say?
21 Venezuela. He was a lunaticos. We have Peter, he's             21        EVAN: Big fan. And now, tell me, I know
22 doing Bit Terra (phonetic). We have Sam, he's doing            22 Anchor Protocols maybe has some updates on the horizon,
23 Loco Terra (phonetic). So we got a lot of lunatics,            23 right?
24 Spanish lunatics, building stuff, so shout out to              24        IAN: We do, we just went into Columbia 5, and
25 everybody in the group.                                        25 once Columbus 5 goes, then we're going to basically put
                                                        Page 34                                                          Page 36
 1         EVAN: And if we have any Spanish-speaking               1 a -- a new liquidation thing in, and then we got other
 2 people watching this stream, why don't you speak a              2 ideas, but we're just short on resources. We just need
 3 little Spanish and give them a message about TeFi Alpha         3 people, you know. So if you know Rust, you know, shoot
 4 and the LUNA ecosystem?                                         4 Pete or Terabytes an email, and they'll get to me, but
 5         UNIDENTIFIED SPEAKER: (speaking Spanish)                5 we need developers. And we got tons of ideas, but yeah,
 6         EVAN: I don't know what he said, but it                 6 the key thing is Columbus 5, making it stable. We have
 7 sounded pretty good.                                            7 a UST gateway coming through as well with Alice. You
 8         UNIDENTIFIED SPEAKER: I just said -- I said             8 might have heard of them. And yeah, there's a new
 9 very good things about you.                                     9 liquidation thing. So yeah. There's tons of stuff.
10         EVAN: I love it.                                       10        EVAN: And so you heard it, people. The only
11         (laughter)                                             11 thing stopping you from getting a spot in the great
12         EVAN: All right, brother.                              12 company like Anchor or one of the other protocols
13         UNIDENTIFIED SPEAKER: Sir, thank you very              13 building on Terra, all you have to do is learn Rust,
14 much.                                                          14 right?
15         EVAN: Thank you.                                       15        IAN: Like, who else are you going to see?
16         UNIDENTIFIED SPEAKER: And let's enjoy the              16 Anyway --
17 party. Thanks.                                                 17        EVAN: Take care, Ian. Thank you for stopping
18         EVAN: We're going to party tonight. All                18 by.
19 right. A lot of people in the stream think I've already        19        IAN: Hey, if you get out (crosstalk) --
20 partied, but as you can see, I'm only drinking water.          20        EVAN: Mike.
21         PETE: Yeah, I know, right? Plus, you don't             21        IAN: Terabytes, they're number one.
22 party very hard.                                               22        EVAN: If you have the stakes, stick to
23         EVAN: Yeah, I never party. (laughter)                  23 Terabytes. We're here putting the party on tonight. We
24         PETE: I think we got one more before we've             24 got to wrap up pretty soon, but we've got Mike from
25 got to start, like, wrapping up and getting ready for Do       25 Apollo. You may join us, sir.

412433.20220929-HQ                                                                                                Pages 33 - 36
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 11 of 31

                                                       Page 37                                                         Page 39
 1        MIKE: How do you hear each other up here?               1 easier DeFi experience of all time.
 2        PETE: We can't.                                         2         MIKE: Nice.
 3        MIKE: Okay.                                             3         EVAN: I mean, assuming you already got a
 4        (crosstalk)                                             4 wallet set up, you go in, you're like, I want to use
 5        PETE: We can't hear each other.                         5 this one. And you don't have to set up a pool and then
 6        MIKE: I thought you guys would have --                  6 stake, and you know, like trade half of your UST away to
 7        PETE: But you do have to talk very close to             7 (inaudible). You just deposit UST, and you're done.
 8 the microphone.                                                8 Kudos.
 9        MIKE: Is this close enough?                             9         MIKE: We're looking to make it even easier.
10        EVAN: Yeah, like almost (inaudible) --                 10 So we're looking to add the other side of the
11        (crosstalk)                                            11 (inaudible) features, so if you want to pull out of a
12        MIKE: Do I have to be like, touching it?               12 vault, instead of pulling full UST, you know, if you're
13        EVAN: What?                                            13 in UST mine, maybe pull the mine instead, so you're not
14        MIKE: Do I have to touch it with my face or?           14 adding (inaudible) pressure to mine on all withdrawals.
15        EVAN: Yeah, if you want to, yeah, yeah. All            15         EVAN: All right.
16 right. So Mike, you're from Apollo DAO.                       16         MIKE: I think I'm getting --
17        MIKE: I am from Apollo DAO.                            17         EVAN: You're getting bumped off. Do you have
18        EVAN: You guys did a fantastic community               18 any closing thoughts?
19 farming event. For all the rocky launches we've had           19         (crosstalk)
20 recently in the community, you guys killed it.                20         PETE: You're bumped off, Mike.
21        MIKE: Yeah.                                            21         MIKE: This has been awesome, and thank you
22        EVAN: I mean, it was so smooth, it was so              22 guys so much for putting it on. Really, you guys --
23 fair. And I'm just curious, like, who within the team         23         EVAN: Get out of here.
24 came up with that design to do it that way?                   24         MIKE: It's awesome.
25        MIKE: Uh, it was a team effort. I'd say on             25         EVAN: Get out of here.
                                                       Page 38                                                         Page 40
 1 the token-nomics (phonetic) design, you know, Bruce is         1         PETE: You want to switch?
 2 our token-nomics expert. And so he really had the plan         2         EVAN: No, no. Don't worry about it. This is
 3 for it. But then, you know, the whole team, you know,          3 our last one. We only got a --
 4 we also worked with some of our stakeholders, discussed        4         PETE: How dare you even show? I'm carrying
 5 it with them, and really just strategized on the best          5 this (inaudible).
 6 plan. And then it was really important for us to use           6         EVAN: We got like a couple minutes.
 7 our own platform, you know. Nothing against any other          7         PETE: Yeah, we only got a couple minutes
 8 platform that's out there, but it was really important         8 left.
 9 for us to use our own -- I'm sorry? Not close enough?          9         EVAN: I lined up the guests.
10         EVAN: It's all right.                                 10         PETE: We've got a guy getting a security
11         MIKE: It was important for us to use our own          11 entourage in here. His name is Wujin (phonetic).
12 platform to showcase how the vaults work. And so that's       12         WUJIN: This is Wujin (inaudible).
13 -- that's it, really. Yeah.                                   13         EVAN: Wujin, Wujin, you have to talk very
14         EVAN: Pete, what do you got for Apollo DAO?           14 close and very loud.
15         PETE: I'm just -- I'm just stoked that                15         WUJIN: Well, how's it going, you all. I'm
16 they're showing something here. I used the platform. I        16 (inaudible). Let's go. Represent.
17 used it a lot.                                                17         EVAN: Maybe there's some Korean speakers
18         EVAN: I still can't hear what you're saying.          18 watching. Do you have a message in Korean for them?
19         MIKE: Oh, you used it a lot?                          19         WUJIN: (speaking Korean)
20         PETE: I used the platform a lot, yeah.                20         EVAN: There we go. There we go. Now, you
21         MIKE: That's awesome.                                 21 guys are coming out with a couple announcements tonight,
22         EVAN: It's not financial advice. Own                  22 right?
23 research --                                                   23         WUJIN: Yeah, for sure. Super excited, you
24         PETE: How do you find the U.S.? Is it --              24 all. It's going to be good.
25         EVAN: You know what? Apollo is like the               25         (laughter)

412433.20220929-HQ                                                                                               Pages 37 - 40
               Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 12 of 31

                                                     Page 41                                                       Page 43
 1         EVAN: I'm very excited. Wujin, I love mine.      1 for that.
 2 It's one of my favorite protocols, man.                  2        EVAN: So I'm curious, or not I'm curious, but
 3         WUJIN: Let's go.                                 3 one more thing I do want to talk about, Angel Protocol
 4         EVAN: Love it, man. How's the conference for     4 is going to be presenting tonight.
 5 TFL and for everybody that's been in New York this week 5         PETE: Yeah.
 6 for Massari (phonetic)?                                  6        EVAN: They've got a really nice robust
 7         WUJIN: It's been so much fun, and honestly,      7 platform that they've built out of the Delphi Digital
 8 networking with a lot of great people. I think a lot of  8 (inaudible). And there's a -- there's a charity auction
 9 partnerships coming ahead. And we're going to have a 9 going on right now for a -- what do they call it? A --
10 great time. So, let's do it, guys.                      10        PETE: Toss up the image.
11         EVAN: Nice. So bullish case on LUNA.            11        EVAN: Toss up the image. The Galactic Punk
12         WUJIN: Let's do it. It's going to be great.     12 Charity Auction. And what is that number there, Pete?
13 It's --                                                 13 Do you see it?
14         PETE: Let's go.                                 14        PETE: $8,020 is the current bid with two days
15         WUJIN: All the way.                             15 remaining. Two days, one hour, and some minutes.
16         EVAN: And you are?                              16        EVAN: Yeah, and that's -- that -- all that
17         EVAN 2: I'm Evan. I am the documentation co- 17 money is going directly to Angel Protocol. And I can't
18 chief for TFL.                                          18 believe, you know, as we wrap up here, we got a couple
19         EVAN: Well, there an only be one Evan on this   19 minutes left, but the floor for NFTs, whether it's --
20 show. So --                                             20 whether it's Space Lude (phonetic), whether it's
21         EVAN 2: I know, I know, I know, I know. I'll    21 Galactic Punks, it's started to get a little crazy out
22 change it to Wujin.                                     22 here.
23         EVAN: Well, listen. We got Anchor in the        23        PETE: Yeah, I was talking to somebody who got
24 house. We got Apollo DAO in the house, we've got        24 offered, like, had two or three NFTs, two or three Space
25 everybody out here tonight. And there's -- and listen,  25 Ludes, and they got offered over 17 grand.
                                                     Page 42                                                       Page 44
 1 here's the thing, people have held back announcements 1             EVAN: Seventeen grand for three Space Ludes.
 2 for this event.                                           2         PETE: So I mean, we're seeing some of that
 3         PETE: Yeah.                                       3 NFT rush that other platforms have experienced coming to
 4         EVAN: So if you're watching at home, I'm so       4 Terra.
 5 happy that you're able to watch because we didn't want 5            EVAN: Yeah.
 6 this to be a closed door event. I mean, it's hard for     6         PETE: And that's the first -- I mean, I guess
 7 me to turn people down. It's hard for us to turn people   7 that may be why, that's like the first NFT thing on
 8 down at the door. There is a limit on the amount of       8 Terra, right? And there's not even a marketplace for it
 9 people that we can get in here, but the livestream is     9 yet.
10 going to show you just as much, all the Alpha, all the   10         EVAN: I know. You got to -- you got to kind
11 people that are out there. Gentlemen, I appreciate you 11 of trust them and maybe set up a buddy as escrow. And
12 coming on the show.                                      12 send some money to their address and maybe they'll send
13         WUJIN: (inaudible) let's go.                     13 it to you. So, you know, be careful out there. I bet
14         EVAN: We got to wrap it up. We got to wrap       14 there's a lot of scammers who will hop on and try to
15 it up. We got to wrap it up.                             15 sell you Space Lude.
16         PETE: Yeah, we're going to wrap it up. We've     16         PETE: Right.
17 only got a couple minutes left until we have to move the 17         EVAN: And give you an address and be like,
18 cameras so that you can see Do --                        18 you send money first, or you send half first.
19         EVAN: Yes.                                       19         PETE: Yeah.
20         PETE: -- Kwon present to you. And I don't        20         EVAN: And you'll send a bunch of money.
21 know what he's going to talk about. What do you think? 21 Don't do that.
22         EVAN: I have no idea what Do Kwon is going to 22            PETE: All right. Well, I think we're going
23 talk about.                                              23 to wrap up the show.
24         PETE: I guarantee you it's not going to be       24         EVAN: All right.
25 anything related to the SEC. So, don't hold your breath 25          PETE: This is the pregame show that we're

412433.20220929-HQ                                                                                          Pages 41 - 44
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 13 of 31

                                                        Page 45                                                          Page 47
 1 wrapping up. We're going to go to an intermission, and          1 this industry needs decentralized stablecoins?
 2 we will be back around -- what is it? Seven -- I can't          2          The thesis that we put forward is that a
 3 even tell what time it is.                                      3 decentralized economy needs decentralized money, and can
 4        EVAN: It's just in a few minutes. We'll be               4 we agree that we need that today more than ever? UST.
 5 -- he's supposed to start at 7:45.                              5 UST. UST. UST. All right, guys. Now, I feel like the
 6        PETE: Okay. We'll be back in about ten                   6 BitConnect guys. So I'm going to stay away from this a
 7 minutes, and we will have all the presentations for you         7 little bit.
 8 guys tonight. You'll be seeing it on a ten-second delay         8          But I think there's no doubts that no matter
 9 from everybody here in person. So if you couldn't make          9 how decentralized the applications that we build on top
10 it, we appreciate everybody around the world rocking and       10 of blockchains, if the base there money is not
11 rolling with us tonight. And we'll be back after this          11 decentralized, then there's no hope whatsoever. The
12 intermission. So thank you.                                    12 recent regulatory environments, they want to shut down
13                 (intermission)                                 13 everything. They want to make sure that the bank
14        EVAN: -- everybody came here tonight. I hope            14 accounts that animates out stablecoins are shut down.
15 so. But I need a little bit of crowd participation             15 They want to make sure DeFi is no longer here. So it's
16 because this wall right here, that's where the                 16 our job to make sure that we hold everybody to accounts
17 presentations are going down. So everybody that's near         17 to make sure that our money remains as decentralized as
18 this wall, this guy like to shotgun beers. Everybody           18 ever, and the economy that we build on top of Terra and
19 that's near this wall, we're going to actually, just --        19 other stablecoins that USD enables, remains
20 if you could take some steps that way because you're           20 decentralized and free for intervention. Am I right?
21 going to be breaking your neck to try and see this             21 Woo.
22 screen. So you want to be like, this seeing the screen.        22          Another thing that's humbling is that when we
23 And now, I know you didn't come here for me to talk.           23 sort of began Terraform Labs, we started as one company.
24 You don't care what I say. He wants to hear me talk.           24 We were going to create stablecoins mainly around the
25 So I'm going to bring up a very special guest to kick us       25 Korean won. We were going to build payment applications
                                                        Page 46                                                          Page 48
 1 off. He's going to give a nice little speech for                1 on top of it. And we were moderately successful in that
 2 everybody to hear and then we're going to dive right            2 vision. It’s not, you know, every day that you make a
 3 into the projects. So without further ado, everybody,           3 payment company and raise like, a hundred million
 4 Mr. Do Kwon.                                                    4 dollars for soft bank. But that is nothing compared to
 5        MR. KWON: So this is a pretty surreal moment             5 the size of our ambitions. Today there's a hundred
 6 for me because just 12 months ago, the only people in           6 different companies that are building things on top of
 7 the Terra community were essentially like, ten guys.            7 Terra blockchains. There's a hundred more building
 8 Dervish (phonetic), you know, I don't think Flammel             8 things on top of UST, on top of Terra blockchains, and
 9 (phonetic) is here, Notchudon (phonetic) -- sorry?              9 that is fucking amazing for what's happened over the
10 Yeah, Jack, for sure. It got so as I was a member of           10 last six months.
11 the Terra community. Who else? Who else feels like             11        It's not bigger. Give us a few years. Yeah,
12 they're in OG? No, you were an intern. Poppy -- yes.           12 so you know, from that company, we sort of did sort of a
13 Beg from hash, the legends that never sold a single            13 complete re-founding of a firm in mid-2020. We sort of
14 fucking LUNA. Eric (inaudible). Ninos (inaudible)              14 separated the payments entity from the main Terraform
15 brothers, where you at? Oh, they're not here. Okay,            15 Labs. We were left with 12 engineers. So we're working
16 cool. Yeah, fuck those guys. Not OG. (laughter). No,           16 on lots of different things, and we deconstructed
17 they're there. Yeah.                                           17 everything at the firm. We sort of tore down our core
18        UNIDENTIFIED SPEAKER: (inaudible).                      18 development processes, you know, code flows and
19        MR. KWON: Yeah, I know. Yeah. (inaudible).              19 everything, and we built the firm from the ground up to
20 I said hi, yeah. Yeah, so it's kind of amazing because,        20 become an application factory. So what Terraform Labs
21 you know, a year ago people were doubting the                  21 did super well over the last year is, you know, a lot of
22 possibility for Terraform Labs to survive. And now,            22 people give us credit for having worked on multiple
23 nobody's questioning that at all. People are not               23 different things, but really, we only ever worked on one
24 questioning that we are defining the de facto standard         24 thing. And that is the Terra stablecoin. That was from
25 for decentralized stablecoins. And can we agree that           25 the beginning and has always been and will always be our

412433.20220929-HQ                                                                                                Pages 45 - 48
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 14 of 31

                                                        Page 49                                                        Page 51
 1 only product.                                             1 giant family, right? Our enemy is not other Terra
 2        What we did do is we built a bunch of              2 projects. It's not other people that are building on
 3 features. We build Anchor to make sure that Terra         3 Terra nor other community members. Our enemy are the
 4 stablecoins were the best way to earn yield on            4 people that seek to break down and fight against
 5 stablecoins in the entire world. Woo. We built Mirror.    5 decentralization.
 6 Despite what anyone says, to make sure that Terra         6        And we remain deeply committed to this vision,
 7 stablecoins can be the easier conduit to invest in any    7 so the Terra ecosystem by no means is driven by a
 8 asset class in the world. And we've enabled hundreds of 8 company. In the beginning we were sort of criticized
 9 thousands of people to achieve their dream of investing 9 very heavily for being centralized, for being, you know,
10 in an asset class that is going to do well. Right?       10 sort of a dictatorial regime with the name of one
11        And I'm super proud of everything that we've      11 committee member, but really, the only north star that
12 done. But what we need to keep in mind is that           12 we've ever drawn is to create a form of money that is
13 everything that we've built are not individual products. 13 more decentralized and useful than any other. And at
14 They're features. The one product that we've built in    14 the end of this process, I think what's going to be
15 our history is the Terra stablecoin. To make our Terra   15 beautiful is that the trajectory of Terraform Labs is
16 stablecoins the easier to spend and the most attractive 16 going to follow the organic trajectory of any other
17 to hold. And guys at TFL, have we done that today?       17 thing in the environment. We've going to come from
18 Woo.                                                     18 nothing. We're going to turn it to a company, which we
19        We're about two percent of the way there, but     19 already did. We're going to be a builder of companies.
20 I think we're making strong progress in this industry    20 And now, we're going to be a builder of companies that
21 that are crying out for use cases.                       21 build other companies. And then ultimately, we will
22        So in this crowd there are a lot of people        22 return to nothing.
23 that are working on, you know, projects in the Terra     23        But it's nights like these when we realize,
24 ecosystem. There's Orion. Where are my Orion bros? 24 when we have events that are hosted by people that have
25 Woo.                                                     25 nothing to do with us. So today, I didn't even know
                                                        Page 50                                                        Page 52
 1         Yeah. Yeah, I've said hi to Sam already.                1 where this event was. Guys, I'm like, four bottles of
 2 Andromeda? Our partners are Harmony. Yeah. And --               2 (inaudible), so. Am I blushing? Yeah. So pretty happy
 3 Cosmos. All right. Flip side, crypto. Let's go. Woo.            3 already, but it's good to know that the seeds have been
 4 Yeah. And are Delphi guys here? Was it Delphi?                  4 sown for decentralization, that once we get to a state
 5 Delphi. Woo. Cado (phonetic). Okay. Let's go for                5 where we're fully decentralized, once we get to a state
 6 Cado. Woo.                                                      6 where the economy is strong enough to sustain itself,
 7         Yeah. So, you know, I'm sure I missed a few.            7 that we would be able to vanish, and we a strong
 8 The Seashell. There's some interns working on Sigma.            8 community of various people run by, you know, working on
 9 But what's kind of interesting is that as we're starting        9 engineering from community developments, you know, being
10 to become a larger ecosystem with tons of people               10 knowledgeable in finance to be able to take the reins.
11 building very interesting things, running the gamut from       11         And I'm super excited for what the next couple
12 DeFi to NFTs to, you know, payments, there's going to be       12 of years in the Terra community has to offer, and I
13 always conflicts, right? So there's going to be a              13 can't wait to build sort of the next thousand
14 dissonance in the vision of where we want everything to        14 applications with you.
15 be. And that's fine. I think that's healthy because            15         Thank you so much.
16 sort of a vision that we define through conflict,              16         MIKE: Hey, everyone. What's up? What's
17 through discussion, through conversation, is going to be       17 going on? That is a really tough act to follow. Who
18 always stronger than something that is dictated top            18 opens with a closer? All right. All right. So first
19 down.                                                          19 of all, I want to start off by thanking Pete and Evan
20         But I think what we need to remember always is         20 for putting this thing on, for hosting this. Like, this
21 sort of our true north star of why we started this in          21 is really incredible. If we could just have a quick
22 the first place. And that is to make sure that our             22 hand for Pete and Evan for, you know, hosting this
23 money is the most decentralized and the most useful on         23 event? I really appreciate it. All right. Thank you.
24 the face of this fucking planet. Am I right?                   24         But then also, Ryan Ola (phonetic), he's in
25         Yeah. We've got to remember that we're a               25 the corner kind of being quiet. He coordinated this

412433.20220929-HQ                                                                                              Pages 49 - 52
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 15 of 31

                                                        Page 53                                                         Page 55
 1 event. It was like herding cats the entire time. So if          1 Anybody need a dev?
 2 we can have a hand for him as well? All right.                  2        So I go to bed, get up the next day, and
 3 Honestly, you know, something I have a great                    3 there's a Wojak sitting in my mailbox. That Wojak was
 4 appreciation for is the balance between the dream and           4 Anonymous Intern. Can we get a hand for Anonymous
 5 execution. So these guys had this excellent idea.               5 Intern? So you know, he reaches out to me, and he goes,
 6 Higher? Closer? Yeah, that would be good.                       6 yeah, you know what, we can use a developer, a bunch of
 7          So Pete and Evan had the dream to get it               7 my friends and I were interns over at Delphi. Why don't
 8 together and then Ryan had the organization and the             8 you join up? Yeah, come on.
 9 follow-through to execute. So I really appreciate the           9        So I joined and then, you know, Anon kept
10 balance between dream and execution. And I see that            10 recruiting more and more. More developers. Contract
11 over and over again in this community.                         11 developer. Biz ops people. People who are used to
12          So who the heck is this guy? My name is Mike.         12 venture. People who are used to every side of it. A
13 A lot of you guys might know me -- and girls -- might          13 graphics designer. He just kept growing because he had
14 know me as Other Mike. Apollo Mike. I am the front end         14 already had the vision of the DAO.
15 of and Dev Ops (phonetic) lead for Apollo DAO. And a           15        So, we do the hackathon, and we got in second
16 little bit about me. I've been a developer since I was         16 place, which was, you know, pretty cool. We were really
17 a teenager, you know, in between ladder matches and Star       17 all very proud of ourselves. But still, I don't know
18 Craft, I would be putting together Perl scripts and Java       18 that everybody understood what our product was. So
19 scripts and, you know, I've been a developer pretty much       19 right now, a lot of people ask us why the heck use
20 my entire life, and then for a little while I went to IT       20 Apollo DAO? What -- why not another yield aggregator?
21 management and network and all that, but most recently,        21 Why not this?
22 I was running the IT department and campus                     22        And the reason's because our product is not
23 infrastructure for the largest movie studio in New York.       23 the vaults. Okay? In the same way that TFL is a
24          But I left that because Hollywood is nowhere          24 centralized organization that is goal and aligned to
25 near as cool as DeFi. Right? Thank you. All right.             25 creating a decentralized -- excuse me -- stablecoin. A
                                                        Page 54                                                         Page 56
 1         So, the Apollo story is really interesting for          1 decentralized stablecoin. That is their alignment.
 2 me specifically. So I had no idea what DeFi was before          2 That is what they're going to. They're on the path to
 3 February of this year. I was looking for videos on              3 get there. They've created CHI (phonetic), Mirror,
 4 FIRE, you know, financial independent retire early. I           4 Anchor, all of these things in their path to creating
 5 found one from the DeFi about Anchor, and I was like,           5 their one product.
 6 holy crap, what is this thing at 20 percent fixed yield.        6        Our one product is our vault. Our vault is a
 7 That's five times less than I was expecting to need from        7 decentralized hedge fund and it's also a mechanism
 8 my principal to retire in the first place.                      8 through which we will stabilize the Apollo token as
 9         So, got involved with the community, you know,          9 well. So, the vaults are a way for us to fill that war
10 in the Telegram, in the Discord, every night trying to         10 chest. And so that war chest will belong to the
11 help other people out. And then Do had a tweet that it         11 community. And it's funny. You know you really made it
12 was this long thread, but number eight in that thread          12 in DeFi when people start to impersonate you on
13 was a call to action to me. It read that LUNA has a            13 Telegram.
14 value capture. And LUNA holders have three choices.            14        So, I get this bot or person, whatever. They
15 First choice, watch him kick ass. The second choice,           15 reach out to me and they look like they're a non-intern.
16 get some profit and buy some unvaluable token. But the         16 And they go hey, man, can you send me 2,000 UST because
17 third thing is you can roll your sleeves up and build          17 something, whatever bots say. And so, you know, I was
18 cool shit. And that's exactly -- that spoke to me. I           18 like, you know, let's mess with the bot a little bit. I
19 looked at that and I was like, yes, I want to build some       19 go why would I do that? And they respond to me, and
20 cool shit.                                                     20 they say well, do you know who owns Apollo DAO? And
21         At the same time, Delphi, Ideaco (phonetic),           21 that's where I knew I had him. It was fun. I go, why
22 and Terraform Labs was hosting the first hackathon. And        22 don't you tell me?
23 so, you know, I didn't know anybody really in the              23        He immediately blocked me, all that. I knew
24 community. So I just jumped in. I raised my hand. Hey          24 the answer to who owns Apollo DAO was not going to be a
25 guys, I'm Mike. Nice to meet you all. I'm a developer.         25 non-intern. It's the DAO. It's the token holders. And

412433.20220929-HQ                                                                                                Pages 53 - 56
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 16 of 31

                                                       Page 57                                                      Page 59
 1 so while we're a centralized group of founders now, our        1 Jason is. Who's Jason?
 2 long-term vision is to be a decentralized hedge fund           2        So, we start to build a front end for them to
 3 that we go to help innovation within the Terra network         3 be able to create -- to create these messages. And then
 4 as well.                                                       4 one of our developers goes well, why don't we make a
 5         So that's what the war chest is there for.             5 state machine? So, it's like, we needed to build a way
 6 The DAO will control it. We'll be able to invest in a          6 to continuously make it so it wasn't only developers
 7 variety of assets on network using this war chest, and         7 that can access the services we created. We need to
 8 then at the same time, stakers will have that war chest        8 keep making ways that the entire DAO can benefit from
 9 to be able to buy back tokens or stake to be able to           9 what we're doing.
10 stabilize the Apollo token.                                   10        And so, our next product, which we entered
11         So, our true goal is the -- did we have a             11 into the space camp hackathon called Apollo safe, and
12 (inaudible)? Because I just started babbling and I have       12 fortunately, we got an honorable mention there. So I
13 no idea how much time we have left. No. Anyway. So            13 really do appreciate and thank you all for the support
14 yeah, so the main idea is our product is the vaults.          14 there as well.
15 We're -- I'm sorry. Our product is the war chest. We          15        Thank you. I'm starting to fall apart. I'm
16 built the vaults in service to the war chest. So then         16 really not very much of a public speaker. Played in a
17 next thing we know, we start to build this DAO and all        17 bunch of like, punk bands as a teenager, so I was like,
18 of our good decisions were made by committee. Every           18 yeah, whatever, I'll get up there. I don't care. I
19 time we stuck to being a decentralized organization, we       19 have absolutely no shame. And it is way harder than I
20 did well. Anytime one or two developers went and did          20 thought it was. I don't know what to do with my hands.
21 something maybe they shouldn't do without the rest of         21 That's the worst part.
22 the team, it was suboptimal.                                  22        So, very similar to echo the message Do had,
23         So, we started first with Discord. And then           23 you know, while we might be one entity now, we stay
24 we went over to -- then we started building CW3               24 aligned to another -- to another vision to a goal that
25 contracts, and then we put our votes up on CW3                25 we all can share. And as long as we continue to stay
                                                       Page 58                                                      Page 60
 1 contracts. Those are ways that we can vote on chain for        1 aligned to that goal -- God bless you -- sorry, that
 2 all of our decisions. But then only the developers             2 wasn't passive aggression, I just feel weird not saying
 3 could propose new things. So, what we ended up having          3 that. That as long as we stay aligned to that goal,
 4 to do is build an interface for that.                          4 we're always going to make it. We're about there. All
 5         So next thing you know, we're building No Sys          5 right. So, all right.
 6 (phonetic) on Terra and we're like, well, if we're             6         So, the reason you're here is for the Alpha.
 7 developing this for ourselves, why not get this out to         7 So, I have to cut to it because I just started babbling
 8 other people? So, as we stay aligned to our vision of          8 forever. The Alpha is that we will be opening our
 9 creating this war chest that serves the community, we          9 vaults and working with other teams in ways to use our
10 continuously build new tools to help in that goal.            10 vaults as yield Legos in their systems. So, whether
11         So, we have Apollo vaults. The next product           11 you're a charity, whether you are a launch platform, no
12 is our Apollo safe, which is our multi-sig wallet setup,      12 matter what you are, we want to package our vaults in a
13 which will -- we're using to also help us set up our --       13 way that we have stabilized yield, whether it's through
14 we launch our contracts through multi-sig. Everything         14 Delta neutral strategies or whatever other advanced
15 has to happen through a DAO. It can't happen with one         15 strategies we come up with that the DAO can vote upon,
16 -- thank you.                                                 16 we are going to use these are money Legos and invite all
17         So, that's the beginning. And -- a little bit         17 other applications or users to use our vaults in their
18 of a squeak there. You hear that? That was nuts. All          18 systems.
19 right.                                                        19         Thank you. Thank you.
20         So, we first start with the Apollo vaults and         20         MIKE: Could we have Dylan from Saber come up,
21 the Apollo safe. And then now, we need a way to               21 please? Dylan from Saber? Are you in the room?
22 automate this, you know? So, we have an interface, but        22         DYLAN: Yes. Hey, how's it going? Yeah, so
23 you know what, the developers are still the only ones         23 I'm part of the team at Saber. We're the biggest
24 that can use it because you have to develop messages to       24 protocol on Solana. I think it's about like, three
25 send to the contracts. Non-developers have no idea what       25 billion TVR right now. Thanks.
412433.20220929-HQ                                                                                           Pages 57 - 60
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 17 of 31

                                                       Page 61                                                      Page 63
 1       Yeah, so for anyone who doesn't know, Saber is           1 uphill battle against inflation. Terra and applications
 2 a stable swap ANM. So somewhat a curve. But                    2 like Anchor actually liberate people. They provide
 3 (inaudible) Solana. Then, yeah, we're all like, very           3 actual life-changing savings opportunities that can pull
 4 big Terra fans. Yeah, I think UST is like our third            4 people out of poverty.
 5 biggest pool right now. Yeah, I definitely want to             5        The thing is, the same inequalities that exist
 6 bring USC adoption to Solana. Yeah, I guess, yeah,             6 in the real world and exist in the lack of access to
 7 we're excited to launch more assets, excited for               7 wealth-building tools, it also exists for philanthropy.
 8 launching all the B like Bonnet assets on Saber. Never         8 The small and medium size charities doing the most
 9 bet against the moon.                                          9 effective work in the world, they don't have financial
10       (music)                                                 10 runway past six months. They're constantly trying to
11       UNIDENTIFIED SPEAKER: Thank you, thank you.             11 fund raise, being distracted from their actual missions.
12 Thank you, thank you. First of all, I just want to say        12 So that was the idea where Angel Protocol originally
13 thank you. Thank you to my amazing wife and family who        13 came from.
14 always support me. Thank you to the Angel team, having        14        What if we can provide all of these
15 you in attendance here for your constant relentless           15 opportunities of Anchor to the organizations who need it
16 passion and dedication. Thank you to Do and to                16 most? Charities and nonprofits. How can we make a
17 Terraform Labs for making this all possible from              17 donation, have it keep growing over time so that when
18 sponsoring tonight to building this amazing ecosystem         18 you give once, you give forever.
19 that we all have the privilege of building atop. Thank        19        After I (inaudible) out my idea for
20 you to Terabytes for livestreaming. Thank you to              20 compounding endowment vaults that grow in perpetuity,
21 LUNAlute for the amazing swag. And thank you to Ryan          21 the Terra community really manifested it into reality.
22 Ola for organizing this whole event, the first of many        22 Do tweeted in support of the idea. A community member
23 to come. Also a shoutout to (inaudible) who could not         23 suggested the name Angel Protocol. Midas suggested I
24 be here, but did help put together this pitch for Angel.      24 enter it in the hackathon. And things really
25 And finally, last but not least, thank you to the             25 accelerated from there. We were very, very blessed to
                                                       Page 62                                                      Page 64
 1 lunatic community. Angel really wouldn't be here          1 receive a $300,000 donation which helped fund our MBP
 2 without you, and your passion lifts this whole ecosystem 2 development. That, combined with our success placing in
 3 to another level.                                         3 the Delphi Digital Terra hackathon, gave me the
 4         When I first started in -- or when I first        4 conviction to quit my job with GE as a global program
 5 started in crypto in 2020, I was really just chasing      5 manager and pursue Angel full time. Best decision I
 6 speculative gains. It wasn't -- when I discovered DeFi    6 ever made.
 7 I realized we were really dealing with a paradigm-        7         So, yeah, I knew that TeFi was part of the
 8 changing technology, but it still felt very closed and    8 future and whatever happens with Angel, I want to be
 9 self-serving. It wasn't until I discovered TeFi that I    9 part of here building it with everyone here. So, yeah,
10 realized this could really reach mainstream adoption.    10 it's been very exciting. It was not without its share
11         I began evangelizing to all my friends and       11 of trials and tribulations though. Shortly after the
12 family, putting together slide decks and Zoom calls,     12 hackathon, our lead dev left the team. And anyone in
13 telling them about Anchor and the incredible savings     13 this familiar -- and anyone in this room is familiar
14 opportunity. Why have your money in savings and          14 with how difficult it is to get a Rust engineer.
15 equities for that matter? No better risk-adjusted        15 Terraform Labs and Delphi Digital keep hiring them all.
16 return exists in finance.                                16         Luckily, thanks to Midas and the Terra Twitter
17         But it wasn't just the financial soundness of    17 community, again, we are able to recruit our new led
18 it that brought me in. It was the difference that Terra  18 dev, Andre, with what I would like to call expert
19 can make in the world. The cracks in the system have 19 recruiting measures here.
20 never been more apparent. The inequality never more 20              When Andre joined the team, he had ten years
21 bare and distressing. People are incentivized to spend; 21 of experience coding for NGOs, two years of Rust
22 they're penalized for savings. Wealth-building           22 experience, and immediate passion for Angel. He's built
23 opportunities are reserved for those at the top.         23 up our team with both front end and smart contract
24         So, people are left with whatever savings they   24 talent, and thanks to that talent, we're excited to
25 can, losing value in the bank, and fighting a constant   25 present our live Tesna (phonetic) MVP.

412433.20220929-HQ                                                                                           Pages 61 - 64
               Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 18 of 31

                                                      Page 65                                                           Page 67
 1        So, right now, you can see someone navigating          1 then distributing them to the indexes of charities. The
 2 through the app. There might be audio playing, but it's       2 Terra Charity Alliance has been one of the most
 3 pretty quiet, so I'm just going to speak over it. You         3 inspiring things of this entire journey. What started
 4 can select a charity based on the 17 UN Sustainable           4 with a tweet from Apollo DAO about donating one percent
 5 Development Goals, read information about them and watch      5 of their revenue to Angel Protocol Charities was
 6 videos, choose to donate. In this example, we are             6 followed by Loop Finance announcing 10 percent of their
 7 actually donating into one of our charitable indexes.         7 entire token supply would be staked with all yield going
 8 So the donation you see is going through the system           8 to charity.
 9 here. You can share your donation on social media and         9        This has snowballed into a giving pledge
10 then you can see in the smart contract code that this is     10 across over 40 Terra projects, protocols, validators,
11 actually splitting between two different charities,          11 NFT projects. I'm extremely, extremely proud to be a
12 going into the charity account and then actually being       12 member of this community.
13 invested into the Anchor investment strategy.                13        But the partnerships don't just stop at
14        And then there will be an actual charity page         14 donations. These partnerships actually extend into
15 here where you can see the balance go up and the amount      15 functional partnerships across the Terra ecosystem. So
16 of donations they've received and see the endowment          16 Angel will be diversifying our yield, not just with
17 balance for the charity growing over time.                   17 Anchor but also tapping into yield from Apollo DAO to
18        Just a sneak peek of lots more to come, but           18 the Alpha (inaudible), thank you, as well as SPAR
19 we're very excited to be getting close there. So it's        19 (phonetic) protocol and any other yield-bearing sources
20 great to be able to donate into charitable endowments.       20 on Terra. We'll be partnering for regional on-ramps
21 But what are you actually doing with that charity money?     21 with CADO (phonetic), Alice, Astral, Cash, and SPAR.
22 What are you helping enable? Your donations and              22 Our friends tell us we'll be providing NFT badges for
23 generosity allow Leaders of Light to provide solar           23 charitable giving heroes. Pylon (phonetic) will be
24 lighting for people without electricity. It allows           24 allowing users to donate -- to deposit their principal,
25 Global Brigades to lift people up out of poverty,            25 have the yield donated to charity, enabling no-loss
                                                      Page 66                                                           Page 68
 1 provide healthcare and clean drinking water. Helps            1 giving.
 2 Yellow Boat of Hope get children in the Philippines to        2          Subara (phonetic) will allow doners to set it
 3 school safely. It allows Protects (phonetic) to clean         3 and forget it with recurring donations. Prism Protocol
 4 up plastics in our ocean and clean up our beaches. It         4 will allow users to split up their assets into both the
 5 allows the Solar Electric Light Fund to provide               5 principal yield-bearing versions with the yield directed
 6 electricity for communities and healthcare clinics            6 to charity. Loop (phonetic) Finance is going to be
 7 around the world.                                             7 allowing us to accept a variety of different
 8         Your generosity and donations allow Better Me         8 cryptocurrencies, converting them into UST on our behalf
 9 to set up educational programs for children in Kenya.         9 and allowing doners to avoid capital gains tax while
10 It allows Refugee Girls Need You to save Rwandan refugee     10 also getting a charitable tax write off.
11 teenagers by providing them with self-sufficiency tools.     11          When Loop partners with Thorchain (phonetic),
12 It allows Animal Ethics to enlighten us on how animal        12 we'll be able to accept those assets natively cross
13 treatment affects the entire planet and also fund            13 chain converting Bitcoin and Ethereum into -- you know
14 research in those areas. It allows Technovation to           14 it -- UST. This cross chain conversion engine taps into
15 train girls in Rwanda to code and become tech                15 a trillion dollar charity marketplace. It takes all of
16 entrepreneurs, hopefully, on the TeFi Alpha stage. And       16 those cryptocurrencies, converts them into UST, and
17 allows Watsi (phonetic) to crowdfund medical funding         17 invests them in charitable endowment vaults that
18 from all over the world for the people who need it most.     18 compound over time. What this does is it creates a
19         So, in short, your donations are making the          19 forever growing UST floor that fundamentally secures
20 world a better place. And there's only a small handful       20 LUNA value. So, very excited about this going on.
21 of the charities we've been able to sign up so far.          21 LUNA, to the moon, UST, permanent rising floor.
22         So, our MVP will be launching soon to be able        22          So simply by existing, all of the protocols in
23 to help these charities as soon as possible. The MVP is      23 the alliance are making the world a better place while
24 going to prove out our smart contract functionality          24 securing the health of the Terra ecosystem. Terra is
25 accepting funds from Terra Charity Alliance members and      25 the blockchain for charity. It's literally coded into

412433.20220929-HQ                                                                                               Pages 65 - 68
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 19 of 31

                                                       Page 69                                                      Page 71
 1 our smart contract DNA. So next time you want to               1 whole legal career like, for the seven past of my life,
 2 donate, please consider Angel where your gift gives            2 guys -- just if you could give me some better
 3 forever. Thank you very much.                                  3 conditions. So I just like you to know that to deliver
 4        RECORDED FEMALE SPEAKER: The introduction of            4 Star Terra, I had to forfeit eight past years of my
 5 NFTs has provided artists with opportunities like we've        5 life, which was connected with becoming a judge. Like,
 6 never seen before. Artists, musicians, poets,                  6 this is a very, very hard process to become judge in
 7 photographers, and writers are all stepping in and             7 Poland. So I really made a lot to making here, but you
 8 carving out spaces in this new digital world. This             8 know what, I not -- I don’t regret it. I really happy
 9 building metaverse. From Discord chats to Twitter              9 to be with you guys.
10 spaces, (inaudible) cultures are emerging autonomously        10         Yeah, and to get in here, I had to move
11 and in a decentralized way.                                   11 abroad, like, there are some COVID restrictions for the
12        So the question remains, why are the top NFT           12 people from -- coming from Europe, so I got outside for
13 platforms centralized marketplaces? And why have              13 two weeks (inaudible) I got diarrhea, I got my
14 artists collectively agreed to pay high gas fees? In          14 (inaudible) infection. So once again, a lot of
15 light of these concerns, TALIS (phonetic) Protocol was        15 problems. But now everything is fine.
16 born. At its foundation, TALIS is based on the idea of        16         And yeah, the similar situation is -- I need
17 empowering artists, allowing them to own more creative        17 to also admit something that whenever I go outside the
18 and financial control over their artwork.                     18 Poland, there is market crash. Like, the last time I
19        To achieve this, TALIS will leverage the Terra         19 moved outside Poland, it was May 20, so we know what
20 blockchain and it's DeFi ecosystem. Furthermore, TALIS        20 happened that time. This why I sold almost everything
21 will operate as a decentralized protocol governed by          21 while going outside to the Poland this time, except
22 token holders. With TALIS, users not only own their           22 LUNA. Of course, (inaudible). No, I sold some. I not
23 art, but they can also own the platform itself and they       23 going to lie, but now I am buying back.
24 can decide on its future direction.                           24         Yeah, so I'm sure that most of you have heard
25        TALIS Protocol will serve as an NFT                    25 about Star Terra as it was extremely emotional listing.
                                                       Page 70                                                      Page 72
 1 marketplace where users can easily mint, buy, and sell         1 Like, from one side as you can see on the graphic,
 2 Terra NFTs. However, unlike traditional marketplaces,          2 highest return on investment, but on the second side, a
 3 TALIS will provide print on demand and DeFi services           3 massive green candle, (inaudible) activity, massive
 4 governed by a DAO-like structure.                              4 buying pressure, yes. That's -- that's time to move on,
 5        NFT summer is over. And Ethereum took home              5 time to delivery things. So I'm here to speak a little
 6 the prize. But Terra autumn is across the corner. And          6 bit more about Star Terra. As I wanted you to
 7 TALIS is looking to shake things up.                           7 understand gamification. So since we are building on
 8        VOYCHIK: Hello, guys. Hey. I'm not going to             8 Terra, we wanted to make sure that we are providing you
 9 lie that I had completely different plan for this              9 guys with some cool stuff.
10 speech, but Do has once again inspired me by saying that      10        We didn't want to provide you with another
11 yeah, conflicts are natural part of every successful          11 ideal platform like the other chains, but wanted to
12 ecosystem, but ultimate goal is to build a (inaudible)        12 provide you some unique feel of the (inaudible). This
13 staff.                                                        13 why, since I was a (inaudible) player, like most of you
14        This why I would like to start with the                14 here, we decided to gamify the way of doing ideal.
15 announcement that there is no conflict between Star           15 That's why we introduce gamified leaderboards but also
16 Terra and Apollo anymore. Woo.                                16 competition between tiers. So we called them factions.
17        I should start with presenting myself. My              17 They have their own history that they are not only
18 name is Voychik (phonetic). But I know that for you           18 beautiful graphics, which unfortunately are not well
19 guys it's very hard to pronounce, so you can call be          19 presented here on the screen, and those factions start
20 Pan. This my Twitter handle. This how Star Terra              20 with the same allocation (inaudible) while competing for
21 started because my -- literally, my first tweet about         21 additional 15 percent gamified pull.
22 crypto was about LUNA. This is how the whole journey          22        How do they compete? Basically, by staking
23 has started. Then I proceeded with the idea of                23 STD native token and by the time, they stake it.
24 launching Star Terra. I texted Do on the DM message,          24 However, since this is ideal process, we wanted also to
25 and thanks to his response, I decided to forfeit my           25 support builders and ideal projects because I know how
412433.20220929-HQ                                                                                           Pages 69 - 72
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 20 of 31

                                                        Page 73                                                                       Page 75
 1 it's hard for you guys when build something, is to catch        1 STD tokens, but let's say you DM another community
 2 community. This is why we decided to make the part of           2 member. And you say to him, hey, I want to join forces
 3 our gamification the interaction on the platform of             3 with you. So you stake your STD on the same smart
 4 ideal projects. So just to give you an example, let's           4 contract, which participate in the ideal. And then
 5 say that we have NFT marketplace, right? And let's              5 ideal tokens are automatically distributed according to
 6 (inaudible), right? And we can, for example, release a          6 your share into this smart contract.
 7 special NFT collections on TALIS for lunatics,                  7         And at the very end, because I know that I
 8 (inaudible) and interstellars and basing on the activity        8 have limited time, I wanted to present you guys the
 9 on the TALIS marketplace, we can delegate additional            9 trailer, the trailer of our universe, which was made all
10 points for the gamification. So we support the                 10 in house. Some people couldn't believe us that we hire
11 platform, transfer our users to the ideal platform             11 19 people full time, but we really do. And we decided
12 product and make then end users. I think this is very          12 to create this trailer with our own resources. So I
13 important and this is also the way how we want to              13 really much like you to see because it's going to be
14 support the projects.                                          14 fun. Are we ready? Go.
15         But also, we've got idea for the people who            15         RECORDED MALE SPEAKER: In the universe block
16 don't want to be part of gamification. I know that some        16 215, a cosmic shift occurred and the yet unseen crystal
17 people just prefer lottery. This why we decided to go          17 of LUNA was brought into existence. It whispered
18 with the first year, which is lottery-based, and as you        18 through the universe as if it were calling out to be
19 can see on the screen, we decreased the number of STD          19 discovered. LUNA's extreme power changed all life forms
20 tokens to get into this tier. We know we are well aware        20 forever. Lunatics, protective and harmonious, worship
21 that after our listing it was too much. So this why we         21 LUNA as a sacred crystal. LUNA blessed them with peace
22 decreased. And at the same time, if you compare it to          22 and prosperity.
23 our white paper, we increase, significantly increased          23         Interstellars, overlords, and magicians seek
24 the number of allocation (inaudible).                          24 to harness the immense power inside of the crystal.
25         I see that you are guys, a little bit                  25 LUNA brought them immortality and the powerful magic of
                                                        Page 74                                                                       Page 76
 1 distracted, so once again, I will try to catch your             1 mind control. (inaudible) merciless (inaudible)
 2 attention. So to catch your attention -- Woo woo woo.           2 (inaudible) crystal energy. LUNA gave them unnatural
 3 Thank you though, once again.                                   3 strength and powerful weapons. For many (inaudible)
 4         Okay, guys. So I'm not going to proceed with            4 LUNA deposits became scarce. Wars between factions
 5 the other part of presentation. I want to focus just on         5 resulted in countless casualties and damages.
 6 the one feature that was not included in our white paper        6        To stop the bloodshed and keep peace to
 7 and these are squads. So why we go with the squads, the         7 galaxy, the Star Terra council was formed. After a long
 8 squadrons? Because we came to the conclusion that after         8 time of peace, when wars amongst factions were all but
 9 the listing of ours, the entry level to the gamified            9 forgotten, the unexpected was about to happen.
10 tiers, is just too high. As you can see, it's 3,000 STD        10        RECORDED FEMALE SPEAKER: Massive LUNA deposit
11 tokens. So now, you need to spend at least 15,000 UST          11 have been detected. The aura and constellation.
12 to get into these tiers. And we are well aware that            12        RECORDED MALE SPEAKER: The discovery of LUNA
13 this is a lot.                                                 13 so reach that it can disrupt the power balance between
14         At the same time, there were some investors            14 factions. Peace was at its end.
15 who buy STD at the listing just to get into those tiers.       15        RECORDED FEMALE SPEAKER: Turn on the Angel
16 And they were afraid that we are going to decrease it.         16 Protocol.
17 So this why we decided to create a special feature which       17        VOYCHIK: One, one, one. As you can see, we
18 is squads, and for those more technical guys, this is          18 cut the last scene, which is going to be presented
19 basically a smart contract where you can delegate your         19 during our first ideal. So, stay tuned, guys. Thank
20 STD tokens, create a team of yours or join to the other        20 you once again.
21 team, and participate in ideal.                                21        (music)
22         So just to give you example, let's say that            22        MR. COOPER: Hey, hey, hey. Yes. We are
23 you have only 250 STD tokens. You cannot afford to buy         23 super excited to be here tonight. We have been
24 3,000. So you write to Dervish (phonetic), you write to        24 (inaudible) for months and tonight is the first time for
25 -- oh, yeah, he's (inaudible) so he probably has 3,000         25 us to actually be public with what we're up to.

412433.20220929-HQ                                                                                                              Pages 73 - 76
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 21 of 31

                                                       Page 77                                                           Page 79
 1 Andromeda Protocol radically free imagines what it takes       1 Trillions. How are we going to realize that? Well, you
 2 to build on decentralized infrastructure. My name is           2 start by providing a comprehensive stack of software
 3 Brendan Cooper, and I used to work for the largest             3 that lets anyone anywhere build on decentralized
 4 collectible company in the world, Panini. And what we          4 infrastructure. In the say way that Shopify and
 5 did there is we created the first officially licensed          5 Squarespace made it possible for anyone to stand up an
 6 digital trading cards. We're globally recognized brands        6 e-commerce site. Andromeda Protocol provides the tools
 7 like the NBA, the NFL, the FIFA World Cup. And for four        7 that lets you build. Yeah.
 8 years, I've tried to get those collectibles onto               8         So, Cody was talking about wicked technology,
 9 decentralized public infrastructure, and it was too            9 wicked capabilities. Let's see what that looks like.
10 hard, and it wasn't good enough. And I left Panini            10 This is our dashboard. From here, you can launch our
11 because Andromeda Protocol is the solution.                   11 no-code builder. This is how you build an ADO. We've
12         I want you to walk away tonight thinking about        12 got it organized by missions. You've got an NFT
13 Andromeda Protocol. I want you to remember three              13 collectible, a DeFi mission. You can build a custom
14 things. Number one, it used to be hard to build on            14 ADO.
15 decentralized infrastructure. Number two, Andromeda           15         Let's build an NFT collectible. Yeah. Ladies
16 Protocol is the solution. Number three, it's the path         16 and gentlemen, what you see here is the most
17 to onboard the next billion users. Yeah.                      17 functionally capable NFT collectible in the world. I
18         And the inspiration behind this is right here.        18 spent four years trying to get this built. Andromeda
19         MR. MARX BAILEY: Everyone, my name is Cody            19 Protocol has been working at this for four months. We
20 Marx Bailey. And I have some -- I have something -- I         20 built this functionality in a weekend, and you can build
21 have an admission. I am a recovering Ethereum addict.         21 your own in five minutes using this no-code builder.
22 So four years ago, I was involved with creating the           22         And there's more. The whole world needs
23 ERC721 standard that most of you know as the NFT. And         23 legal, they need legal solution. We built a legal ADO
24 for four years, I watched the innovation happen. What I       24 that takes care of that. We think this is a huge
25 always envisioned was a robust -- robust financial            25 concept. We can build really fast.
                                                       Page 78                                                           Page 80
 1 products like bonds and insurance, the real fun stuff to       1         All right. So first off, let's take us to
 2 be built. And for four years, it never happened. And           2 where we're at right now and where we're going. So Do,
 3 about a year ago, I read that Linus Torvalds had               3 where are you Do? Raise your hand. All right, Do, we'd
 4 endorsed the Rust programming language to be used in the       4 like -- we would like to thank you for the personal
 5 Linux kernel. And man, I know some guys over there that        5 grant you gave us back in May to get the proof of
 6 are using Rust instead of this dog shit language of            6 concept started. And that was the best money you'll
 7 solidity.                                                      7 ever spend.
 8         And I took a look, and I found Mirror and I            8         I'd like to thank everybody in this room for
 9 found Terra and I found -- I found my homies, I found my       9 being part of the community that gave us the community
10 group. And that -- and Rust itself and the (inaudible)        10 grant.
11 stack with (inaudible) and everything gave me that --         11         UNIDENTIFIED SPEAKER: Yes.
12 those tools I needed to build the things that I wanted        12         MR. MARX BAILEY: That gave us the runway and
13 to build four years ago. That's a long time.                  13 the price hike to get, you know, from five dollars up to
14         And so with Andromeda Protocol, what we've            14 thirty to build this thing out. And we've been working
15 built are what we call digital objects. Andromeda             15 with almost every project in this room from Secret to
16 digital objects, or ADOs for short. And these ADOs,           16 TALIS, the Mars to Anchor, you name it. Mirror,
17 there's a lot to them. And it's hard to get into that         17 everybody. And this is what we're here for. This is
18 up right now, but there's a lot packed into these             18 what we're building.
19 things. They're autonomous. They've got wicked                19         UNIDENTIFIED SPEAKER: Andromeda Protocol,
20 functionality. They've got amazing capabilities,              20 come build with us, let's onboard the next billion
21 interoperability across the changes in IBC. Everything        21 users. How about some questions?
22 you could possibly imagine. This is big. This is real         22         MR. MARX BAILEY: Questions? Yeah, sure. So
23 big. So, these ADOs allow us to onboard the next              23 -- this is more for the tech guys in the room. So when
24 billion users and trillions in value.                         24 you say autonomous, that's a big word and you've got to
25         UNIDENTIFIED SPEAKER: That's right.                   25 unpack that. Like, what does that actually mean.

412433.20220929-HQ                                                                                                Pages 77 - 80
               Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 22 of 31

                                                     Page 81                                                       Page 83
 1         So, with these ADOs, you essentially have a       1 difference between like, their profile picture and like,
 2 721 contract on one side, right? So you've got the        2 your actual face. Mine's much rounder and more like
 3 normal calls in there so you can have ownership of this   3 salt and pepper hair. But it's great to finally meet
 4 object. On the other side, you've got a list of           4 everyone here. Although shoutout to everyone on
 5 modules, right? So this -- this ADO itself has the code   5 Telegram. Shoutout to everyone on Discord. Danku
 6 built into it. It's like a -- it's a smart contract,      6 (phonetic), Chino Man (phonetic), something else. And
 7 essentially, but it's a library. And what happens is,     7 is Iyush (phonetic) here? I don't know. (inaudible) to
 8 is that ADO itself is what has the deposit into Anchor    8 everyone on the online system where some of us are here
 9 or it has the deposit into whatever -- whatever piece.    9 in person, but it's a huge global community and great to
10 And that can then be transferred around like a CDP, like 10 have all of you together here today. So that's the
11 a wrap CDP, so you can transfer that. You don't have to 11 first thing I want to say.
12 unwind it yourself (inaudible) somebody else (inaudible) 12         I -- my day job, I am a head of marketing at
13 to wind it back up.                                      13 Amun and 21 Shares. We enable people to buy
14         UNIDENTIFIED SPEAKER: Any more questions? 14 cryptocurrencies in their brokerage accounts in Europe.
15         MR. MARX BAILEY: Questions? Come on. Hey. 15 So, where, you know, you hold your stocks, you can have
16 Oh, sure, sure. All right. So one of the -- one of the   16 different cryptocurrencies. So, we enable a much wider
17 questions we've been asked a lot is, like, you know, of 17 group of people access to cryptos. So yeah, definitely.
18 course LIN (phonetic) token. That's something we're      18         So, we just want to make crypto mainstream,
19 going to hold off on for a while. That's something --    19 give it to the next fifty hundred million people today
20 this is kind of a new layer. This is something hasn't    20 in their current accounts. Especially to all the
21 really been done before on any blockchain. It's a new    21 Boomers out there, right? So, try to make crypto
22 category. So just throwing off the shelf token solution  22 accessible.
23 at it isn't something we're looking at doing. That's     23         On top of that, we have index products. Our
24 something we're going to take very, very carefully, not  24 index products enable us to combine multiple
25 to be done too quickly. Yeah.                            25 cryptocurrencies together, have an index of it, and get
                                                     Page 82                                                       Page 84
 1         So, he was asking about what are the             1 people exposure to the whole asset class. And what I
 2 requirements needed to build on top of Andromeda to      2 will say, there's a couple things I can and cannot say
 3 connect. So, this says Andromeda Protocol. And           3 today. What I've learned from my legal team is that I
 4 protocols are open, right? Protocols are standards that 4 cannot explicitly announce anything new that has not
 5 we all use to communicate. So, with this, it is open     5 (inaudible) official filed yet. So all I will say about
 6 source so anybody can contribute these things. We'll     6 the Terra ecosystem is I like the token. Hopefully, I
 7 have a library of code that's available for you to sort  7 don't get fired for that statement.
 8 of stitch together and build whatever you want.          8         And I look forward to a wide range of
 9         In the menu earlier, there was the custom ADO.   9 initiatives we'll use in the future. What I can legally
10 That's where you can kind of select from a menu of what 10 talk about today is an upcoming proposal we're going to
11 features you want to put in this bad boy and then       11 make for a Terra ecosystem token. An index of all the
12 publish it out there on the -- on the chain. Yeah.      12 Terra protocol tokens. That's LUNA, that's Mirror,
13 Yeah.                                                   13 that's Ank (phonetic), that's Pylon. Let's get some of
14         Yeah, so -- so you can come up with sort of     14 these third party protocols in the ecosystem token as
15 these templates, I guess, if you want. So different     15 well. Right? And we are going to be announcing that.
16 mixtures, different configurations in these -- yeah.    16 We want to make that available on Ethereum for everyone
17         UNIDENTIFIED SPEAKER: All right.                17 in Ethereum ecosystem to be able to purchase. We want
18         MR. MARX BAILEY: All right.                     18 to make that available on exchanges for everyone to be
19         UNIDENTIFIED SPEAKER: Andromeda Protocol. 19 able to purchase in an easy way. We just want to take
20 Come build with us.                                     20 the Terra ecosystem and make it available for a wider
21         UNIDENTIFIED SPEAKER: Hey, everyone. What 21 range of people. So -- yeah.
22 up, what up? Do I only have 30 seconds? It's like a     22         I'm just trying to shill Terra, guys. That's
23 commercial. Everyone, it's a cash run. You might        23 all. That's all. And it's not just about the Terra
24 recognize me from Telegram or Discord over here. It's 24 ecosystem companies doing it. Sometimes you're going to
25 always weird when you see people in real life, the      25 have companies, well, people in companies that are

412433.20220929-HQ                                                                                           Pages 81 - 84
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 23 of 31

                                                        Page 85                                                         Page 87
 1 bigger third party research entities. Got to have               1 building up the framework for the mainstream adoption of
 2 advocates from the inside. Right?                               2 yield (inaudible) to power these various services, we'll
 3         So, I love Terra. I'm going to give time back           3 also be working on a number of in-house projects
 4 to all of you. Save seven minutes up here so we can             4 including Pylon Harbor, which will allow for dollar cost
 5 drink and party more tonight. Yes. So, no Q&A. If you           5 averaging on your favorite crypto assets. Once we hit a
 6 want to hit me up, just DM me on Telegram or hit me up          6 number of major project benchmarks and after
 7 later tonight. And have a wonderful rest of your                7 establishing our fundamentals, we want to get to a place
 8 evening, everyone.                                              8 where we can launch a star craft (inaudible) for stakers
 9         MR. WU JIN: This is Wu Jin (phonetic) from              9 of our (inaudible) token mine which will continue to
10 Highland Protocol making innovations in yield                  10 accrue value as more and more projects launch and
11 redirection. Pylon started out as a project incubated          11 integrate with Pylon.
12 by Terraform Labs. But in the spirit of                        12         If Terra's mission is to set money free,
13 decentralization, it's now a freestanding protocol with        13 Pylon's mission is to set payments free. Like, users
14 an ambition to expand beyond the Terra ecosystem.              14 deposit money and pay never. Join us in our mission and
15         Our proof of concept that demonstrate the idea         15 let's construct additional Pylons, Pylons, Pylons.
16 of finding tangible use cases for yield redirection was        16         UNIDENTIFIED SPEAKER: All right. Hello.
17 Pylon Gateway, a community-centric launchpad where users       17         RECORDED MALE SPEAKER: Welcome civilian.
18 can deposit to invest in early stage projects in               18 This is the secret network mission briefing instructor.
19 (inaudible) manner, will have a significant upside and         19 You're receiving this message because we have a problem
20 guaranteed protection of their underlying principle.           20 on our hands that we can't solve alone. Your privacy is
21         This is our very first (inaudible) of the              21 under attack. What you see here is blockchain
22 concept and we've barely begun. Not only will you see          22 technology. It promised us all a more empowering and
23 multiple project launches happening by the end of the          23 open internet. Instead of centralized corporations
24 year with Pylon Swamp and Pylon Pools on Gateway, but          24 controlling our applications and platforms, it would be
25 you'll also a number of experimental project launch            25 left in the hands of communities and developers to grow
                                                        Page 86                                                         Page 88
 1 models including NFT (inaudible) where the more you             1 own and maintain them.
 2 stake, the more likely you are to receive rare airdrops.        2         In its current form, however, all blockchain
 3 Fixed Pylon Pools where the yields buy up tokens at a           3 data is public to everyone, putting users at risk.
 4 designated price point. And at last, a batch option for         4 Secret network is on a mission to build a privacy
 5 that called Pylon Osmosis that will be doing (inaudible)        5 platform of web 3 to protect and empower users. It will
 6 launch.                                                         6 allow developers to build decentralized applications
 7         Given that Pylon as a protocol is more than             7 utilizing encrypted data to make sure your private
 8 Pylon Gateway or the launchpad we'll be rolling out a           8 information stays private.
 9 number of new initiatives. Our open source SDK will be          9         But we can't accomplish this mission alone.
10 available starting Columbus 5 for any and all third-           10 We're currently scouring the globe in search of
11 party integrations. Our current lineup includes                11 competent secret agents ready to climb the ranks and
12 decentralized charity fundraising with Angel,                  12 become key project contributors. Do you think you have
13 decentralized crowdfunding for creative projects, and          13 what it takes to join us? Help save privacy. Become a
14 artist patronage including K-Pop and for digital media.        14 Secret agent.
15         We're also looking into the vertical of                15         UNIDENTIFIED SPEAKER: Is Guy Ziskin
16 subscription services and split payments for Terra merch       16 (phonetic) in the house from Secret? Guy? Guy Ziskin
17 and gift cards, rentals in the metaverse, community            17 or Tor (phonetic). Do we have one of you guys here?
18 grants, DAO memberships, and of course, we haven't yet         18 Guy or Tor from Secret? Tor Bear, Guy Ziskin, anyone
19 forgotten about decentralized (inaudible).                     19 from Secret here?
20         Shortly after these first wave integrations,           20         UNIDENTIFIED SPEAKER: All right. They're not
21 we'll be releasing our widget with which any website can       21 here, and my voice is totally broken because of all the
22 conveniently add on a deposit with Pylon payment               22 amazing people I've got to meet this week, but I'll just
23 interface. And we're currently working with Fiat on            23 take 60 seconds to talk about the dream of Secret
24 offramp solutions to capture a larger market.                  24 network. Simply put, we can build applications with
25         While most of our focus will be towards                25 privacy, and ultimately with inner operability, with
412433.20220929-HQ                                                                                                Pages 85 - 88
               Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 24 of 31

                                                      Page 89                                                         Page 91
 1 IBC, the possibilities for cross-chain smart contract         1         UNIDENTIFIED SPEAKER: Cody from Andromeda.
 2 calls is going to bring privacy to many, many                 2 Do, don't go. All right. Can we get everybody quiet?
 3 applications. So if you're a developer and you're a           3 Shh. Shh. Okay. So I pulled these guys together.
 4 builder and you know that on-chain data being completely      4 Chauncy, of course, you know why. Secret, Cody, and Do.
 5 transparent is going to slow down adoption, is going to       5 These guys are the ones that are changing the world. So
 6 slow do divisibility to be completely adopted, then           6 tonight I just wanted to do a discussion and then after
 7 checkout Secret network because there's a lot of magic        7 we'll talk about loot bags and how that's going to work.
 8 happening here. There's a lot of passion happening here       8 Do seemed to just let everybody in. And so logistics
 9 and stay tuned because we got some -- we got some alpha       9 on how that worked, we'll figure it out at the end. But
10 in the coming months with our application layer. We          10 there is some really cool loot. There's NFTs in there
11 love Terra. We love LUNA. Let's build web 3 together.        11 from the Galactic Punks. There's Lavona (phonetic),
12         RECORDED FEMALE SPEAKER: Cold, red Martian           12 they did some. So inside of it, there's a bunch of
13 dawns. They're very pretty, but not pretty enough to         13 random stuff, cash. Yeah, cash put a card in there.
14 wake up this early without a good reason. Mine was to        14 Everybody gets a fifty dollar, plus there's a big one in
15 get to the town's bazaar as early as possible and sell       15 there. So, there's a lot going on with that.
16 all the rocks before the harsh winds knock over the          16         So, let’s first open it up, if everybody can
17 market. They say it all started 12 years ago, the year       17 get quiet, let's open up to a couple questions. And
18 before I was born with the great flash. It shined for        18 then we'll -- there's a couple of Twitter questions as
19 weeks and was so bright, people could see it during the      19 well. So anybody want to start first? Here we go.
20 day. Electric gold they called it.                           20         NATE: Hey, guys. Some of you might know me.
21         It painted the sky and made the desert storms        21 I'm -- thanks. Some of you might know me. I'm Nate
22 really bad. Then three years ago, the shower started.        22 from the community. Do, this one's kind of directed to
23 They found the first meteor a year after that. It            23 you. So question here is about decentralization of node
24 cracked open and this crazy egg came out, and from that,     24 validators and how that might be related to Project
25 a small dragon hatched. Most people are terrified of         25 Dawn, which you've talked about because my biggest
                                                      Page 90                                                         Page 92
 1 the storms. They would never foot in the desert, but     1 concern that I've brought up in the community is
 2 everyone wants a dragon. That's what makes the rock so   2 decentralization on data structures, mostly (inaudible)
 3 valuable. With a dragon, everything is just more --      3 and some other centralized structures, which most people
 4 everything you do is amplified. You've got leverage and  4 might not be aware of that are a huge danger to
 5 you can fly.                                             5 decentralization of the community.
 6         I was so sad I couldn't sell our rock today      6         MR. KWON: So before you disappear, is the
 7 because a storm knocked over the market. I hate          7 question on, like, what Project Dawn is or is there
 8 disappointing you.                                       8 something else?
 9         RECORDED MALE SPEAKER: Nonsense. You did the 9             NATE: I'd hope you'd go a little deeper,
10 right thing coming home right away. You alive in one    10 right, because you had mentioned that part of Project
11 piece is far more important than all the rocks, money,  11 Dawn was to get some metal server, you know, storage off
12 and even dragons in the world. Besides, we'll use these 12 of centralized -- cool.
13 rocks too. We need the power inside of them. It's how   13         MR. KWON: So, we've -- we've been through
14 we improve the crops of our farms. I'm sure even if we  14 four iterations of this before. But we've had
15 didn't -- what was that?                                15 scalability issues on a lot of layers of our
16         UNIDENTIFIED SPEAKER: All right, everybody.     16 (inaudible). So we've had issues where during the most
17 We've got a Q&A panel coming up. If we could get Cody   17 recently the STT ideal, we've had things slow down
18 up here from Andromeda. If we could get Tor from        18 because a lot of the -- sort of the requests were
19 Secret. If we get Chauncy from Angel up here. And Do    19 hitting the centralized TFL notes, which are in FCD and
20 Kwon up to the stage. Testing. I just want to make      20 Mental. We've had the Pylon web app freeze. And before
21 sure that everyone did see that that Alice video said   21 that, we've had an issue during like, extreme Anchor
22 November on it. Tor. Chauncy. Do Kwon, ladies and       22 liquidations. So we decided that Project Dawn was
23 gentlemen.                                              23 necessary for two reasons.
24         UNIDENTIFIED SPEAKER: We need Cody. Let me      24         Like, number one, we need to be a major
25 find Cody.                                              25 contributor to the Cosmos core technology ecosystems.

412433.20220929-HQ                                                                                              Pages 89 - 92
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 25 of 31

                                                        Page 93                                                          Page 95
 1 So guys, one thing that's important to remember is that         1         MR. KWON: Was that me?
 2 Terra would not be possible if it wasn't for Tenderments        2         UNIDENTIFIED SPEAKER: Yeah.
 3 (phonetic). If it wasn't for Cosmos SEK. If it wasn't           3         UNIDENTIFIED SPEAKER: That was from Duffy.
 4 for Cosom Wasom (phonetic) and a lot of the guys that           4         MR. KWON: Wait. Fuck. I thought it was a
 5 built those core technologies sort of enabled this              5 panel. Wouldn't it be easier if I like, fucking
 6 entire ecosystems to come forward.                              6 moderated or something?
 7         So, first of all, for all of you that are               7         UNIDENTIFIED SPEAKER: You can -- you can take
 8 working on those ecosystems or those core technologies,         8 that role if you want.
 9 thank you so much for making all of that happen.                9         MR. KWON: All right, all right. So UST on
10         But what's important is we need to pay our way         10 all exchanges. All right. Coinbase ERC20 UST launched,
11 forward. So right now, we're one of the largest                11 I think, is this September right now? Okay. It
12 ecosystems in the, sort of, the Cosmos. So, we need to         12 launched like, August or September or something.
13 make sure that those technologies that we've been built        13 They're going to be launching Native Sport (phonetic) in
14 on, can be future proofs. They have the right                  14 November. We've gotten, I think, most of the major
15 resources, the right capital in order to make sure that        15 Chinese exchanges to agree to launch UST in Q4. So
16 they are the best ecosystem to make proof of stake             16 basically, what I'm predicting is that there's a lot of
17 networks.                                                      17 regulatory pressure on centralized stablecoins, and I
18         Now, Cosmos was the first thing that brought           18 think what's going to happen is there's a decidedly
19 proof of stake into the world. And I think with the            19 strong preference among builders for decentralized
20 right type of resources, it can remain the best. And we        20 stablecoins already. And I think that's going to
21 are just going to do that (inaudible) forward. We're           21 percolate to retail.
22 going to make sure that it's funded in the right way, it       22         So, a lot of the people that are using
23 has the right resources to make sure that the Cosmos           23 centralized stablecoins will have a preference for
24 ecosystem can be the best way to launch a sovereign            24 decentralized versions. I don't know. It's put a --
25 blockchain that is interconnected through IBC in the           25 it's hard to put a time prediction on this, but I'm
                                                        Page 94                                                          Page 96
 1 world. Thank you so much.                                       1 going to say January. It sounds super fucking random,
 2         A second tenet to this is we've gotten major            2 but you know what? I'm going to stand behind it by
 3 note operators, so for example, in the Ethereum                 3 January. And I think by January a lot of centralized
 4 ecosystem, the dominant providers are Akame (phonetic),         4 exchange is going to be behind UST. And I think that's
 5 QuickNode, and maybe a couple of others. The name of            5 going to be decided preference, not among just builders
 6 the third escapes me, but we've gotten Akame, QuickNode,        6 but among retail (inaudible) UST.
 7 and one more node provider to provider RPC node and             7         Do you want me to moderate?
 8 application services to the entire Cosmos stack.                8         UNIDENTIFIED SPEAKER: Nope. I'm good. I got
 9         So, what that's going to mean is that when a            9 one for -- I got one for Tor. Yeah, you're up. When it
10 Dap (phonetic) is wanting to build on top of Terra, it's       10 comes to UST, when it comes to your community, what is
11 going to be as easy as building and shipping an ERC20          11 their feeling on Terra when you hear about the ADOs from
12 web app. So, what we're going to be doing is we've             12 Andromeda and Angel Protocol? How do you see Terra --
13 already funded grants through Project Dawn for those           13 because Do didn't want to dox himself by donating to
14 initiatives to be possible. We're also going to be             14 charity in front of all of Twitter. Could he have had a
15 funding two years' worth of server costs for any               15 portal through Secret to be able to do that, to donate
16 developer on the Terra ecosystem, connecting to either         16 to Angel?
17 QuickNode or Akame or the third thing, which, apologies,       17         MR. BEAR: So, first of all, thanks for having
18 I forget, for the next two years.                              18 us.
19         UNIDENTIFIED SPEAKER: Going to read Duffy's?           19         UNIDENTIFIED SPEAKER: Of course.
20         UNIDENTIFIED SPEAKER: Democratizing                    20         MR. BEAR: We got a -- we got a lot of privacy
21 endowments through Angel Protocol is transformative. In        21 fans in the building. So, if I see you in a privacy
22 changing the way charities view their plans for                22 hat, thank you so much.
23 achieving this financial sustainability. One of the            23         We don't think that decentralization can exist
24 challengers we face is teaching them how to use on/off         24 without privacy. But we also don't think that privacy
25 ramps. What are the plans to get UST on more exchanges?        25 can exist with decentralization. So if you really want

412433.20220929-HQ                                                                                                Pages 93 - 96
               Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 26 of 31

                                                      Page 97                                                          Page 99
 1 to have sustainable privacy solutions, they need to be        1 whatever object you have, and you want to slam it over
 2 robust. They need to be decentralized, they need to be        2 into Secret, it all of a sudden, into the black hole it
 3 community-driven. They can't be sort of dictated from         3 goes. No one knows where it goes. No one knows what's
 4 above. They have to be bottom up. But if you want to          4 going on, and all of a sudden later you, you want to
 5 have decentralization, and you want it to be                  5 resurrect it on Solana or Cosmos or any number of
 6 sustainable, you also need privacy solutions in order to      6 chains. And so that's kind of the piece there. So what
 7 sustain it.                                                   7 we do, like, this is going back to, you know, yours
 8         So, it's two sides of the same coin. And as a         8 truly, is the way we're looking at each of these chains,
 9 community, we want to support the most decentralized          9 is like, what are their strengths, right?
10 stablecoins because supporting decentralization is           10         So, with this guy, this is the natural place
11 critical to privacy, and we hope that within the Terra       11 to go, number two. So, this is the second chain we'll
12 community within all the builders that are building to       12 be deploying on once we get it up on Terra.
13 optimize like, adoption of UST, adoption of like, what       13         UNIDENTIFIED SPEAKER: Very nice.
14 is the most decentralized stablecoin to this point? We       14         UNIDENTIFIED SPEAKER: And yeah, for Angel,
15 just hope that they understand the critical nature of        15 we've actually flirted a little bit with Secret on
16 privacy to protecting the people at the end of the           16 Twitter already. So yes, we have talked about this. We
17 funnel who are going to be utilizing that for their          17 have thought about this. And as soon as we're ready,
18 everyday lives.                                              18 we'll be integrating the ability to donate anonymously.
19         Because the last thing that we really want to        19         UNIDENTIFIED SPEAKER: Very nice. No matter,
20 see is that dystopian future where like, we think            20 anonymous or not, remember to donate. This is bigger
21 something is decentralized, but just because a lot of        21 than all of us. If you've made any money in crypto,
22 people use it and because it's not centrally controlled,     22 donate some of it to something bigger than yourself.
23 but it's just part of a dystopian surveillance culture,      23         UNIDENTIFIED SPEAKER: Speaking of which,
24 and it becomes just worse than anything that came            24 Galactic Punks is doing a charity auction on
25 before. So, we were trying to prevent that. But we           25 Lunalute.com right now. And I think the top bid is
                                                      Page 98                                                         Page 100
 1 also don't want to be part of a future where everything       1 $8,000 for the Galactic Punk that is yet to be minted.
 2 is private, but it's still controlled centrally because       2 It is soon. Also in the Lunalute bags, again, I don't
 3 that didn't help anybody either.                              3 know how many we have with how many people are here, but
 4        So, it's two sides of the same coin. Anything          4 there's little stickers on the back. You'll see a QR
 5 we can do to help the Terra community on UST adoption,        5 code and a little code at the bottom. And that takes
 6 we will do. And we hope that anything that the Terra          6 you to Galactic Punks, and that gives you -- there's one
 7 community can do to evangelize privacy within its own         7 being given away tonight for that.
 8 ecosystem to ensure that every user around the world has      8         And shoutout to Conner in the house.
 9 access to privacy solutions and helps build that              9         UNIDENTIFIED SPEAKER: Oh, he's here? Oh,
10 sustainable and robust approach to decentralization and      10 nice. I didn't know he's here. Awesome.
11 stablecoins and payments and everything else. It's --        11         UNIDENTIFIED SPEAKER: Any -- come on up. So,
12 we need each other. I personally need Do very much. I        12 I’m not sure what is going on with the astronaut in the
13 hope he feels the same about me. But yeah, it's a            13 room. There's a lot of logistics. Are you doing a
14 pleasure. And every single person that I've met in this      14 giveaway?
15 room who's building on Terra has been an absolute joy to     15         UNIDENTIFIED SPEAKER: What's happened
16 me and work with, and the ethos is super strong within       16 (inaudible)?
17 the lunatics, and it's a pleasure.                           17         UNIDENTIFIED SPEAKER: Right now? After?
18        UNIDENTIFIED SPEAKER: That's awesome. Thank           18 Well, let's do it after. Well, you had a nice a little
19 you. So wedging Andromeda in there, thank you very much      19 (inaudible). Can we get one or two more questions from
20 for that. So one of the things that I did was early on       20 audience? Here we go.
21 reach out to Tor here about getting his Enigma team as       21         UNIDENTIFIED SPEAKER: Hey, guys. (inaudible)
22 the team to work with us on getting our ADOs to move         22 congrats on all the progress. With Columbus 5, there's
23 from our chain over to Secret, so you can have these         23 going to be like, dozens of new applications, and from
24 NFTs, these ADOs, moving from chain to chain. So all of      24 the presentations, the way it looks like, it's going to
25 a sudden you want to have your NFT, your -- you know,        25 be quite user-facing, meaning mass market like Alice,

412433.20220929-HQ                                                                                             Pages 97 - 100
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 27 of 31

                                                       Page 101                                                         Page 103
 1 for example. You know, debit cards for normal people.           1 pick up the mic. Pick up the mic. Yeah, guys. This is
 2        What's going to be your way to, you know,                2 like where I become a creepy uncle. So --
 3 actually get people outside the crypto industry to use          3        UNIDENTIFIED SPEAKER: I'll say if there's
 4 it because right now on ETH for example, it's some              4 anything I learned interning at Terra is drinking
 5 applications of like, 80 users is all -- you know, the          5 alcohol.
 6 same whales (phonetic) are using the same protocols.            6        UNIDENTIFIED SPEAKER: We've taught you
 7 And then on FTX, we saw like, you know, mass                    7 poorly, my friend. But anyway, any volume expectation
 8 sponsorship. What kind of angle do you want to take and         8 from Alice, like what are you sort of seeing over the
 9 what do you think is most effective?                            9 next 12 months?
10        UNIDENTIFIED SPEAKER: So, I'll actually start           10        UNIDENTIFIED SPEAKER: Well, I think everyone
11 this one before handing it off to Boss. So, Angel              11 saw from the video we're offering all 20 percent API
12 Protocol actually, I think, is going to be big for the         12 from Anchor. So at this point, there's literally no
13 ecosystem in that regard. We're onboarding all kinds of        13 opportunity costs to go from Anchor to Alice. So for
14 charities. They bring their own networks along with            14 you to move your money from your Anchor account to
15 them. Our whole mission is to provide the benefits of          15 Alice, and to get a metal debit card that you can cut
16 TeFi without any complexity of having to interact with         16 your cheese with, there's no opportunity costs.
17 crypto.                                                        17        What that means is you can put all your money
18        So all of our marketing, all of our onboarding          18 from Anchor to Alice, get 20 percent APY, use that money
19 and business development, it's all based on getting            19 for P to P payments.
20 outward adoption to Terra. And then also from a crypto         20        UNIDENTIFIED SPEAKER: (crosstalk) back here.
21 market perspective, it's nice because that ends up being       21        UNIDENTIFIED SPEAKER: And cut your -- cut
22 beta neutral and helping protect the ecosystem in that         22 your cheese with your Alice card, with the metal Alice
23 fashion. So, that's my piece.                                  23 card.
24        UNIDENTIFIED SPEAKER: So when I first started           24        UNIDENTIFIED SPEAKER: Oh, is this like how
25 my Twitter account, I had no intention of being cryptic.       25 you fuck me? Is this how this works? Okay.
                                                       Page 102                                                         Page 104
 1 But one of the things that I've consistently tweeted out  1         UNIDENTIFIED SPEAKER: No, no, no. I will say
 2 is what the fuck is Alice? And the reason why I did       2 I'm the founder and CEO of Alice, but before that, I am
 3 that is because the guy that was running Alice just kept  3 the intern of Do Kwon.
 4 giving me hints of what he was about to do, but he        4         UNIDENTIFIED SPEAKER: I got to say for the
 5 wouldn't fucking tell me. So when I was asking who the 5 record, he was the worst intern I've ever had. But now,
 6 fuck is Alice, I had no fucking idea. But it seems like   6 I got to say --
 7 it's proper for the -- for the man himself to take the    7         UNIDENTIFIED SPEAKER: Boo.
 8 stage and answer the question. (inaudible), please.       8         UNIDENTIFIED SPEAKER: I got to say though,
 9         Yeah, so let me do like a mini panel here.        9 you got to listen to this, this is one of the most
10 What the fuck is Alice, seriously?                       10 exciting things that I've invested on in my career,
11         UNIDENTIFIED SPEAKER: Yeah. I just want to 11 yeah. Thank you so much.
12 say everyone loves UST. UST is really fucking great.     12         UNIDENTIFIED SPEAKER: Any follow-up to that
13 But UST is only useful insofar as you can actually use   13 from anybody? All right. One more from the audience.
14 it in the real world, right? And what we're focused on   14 (inaudible) there?
15 at in Alice is to build metal cards such that you can    15         UNIDENTIFIED SPEAKER: You know, having
16 pull it out from your wallet, go to a restaurant, and    16 transitioned from other blockchains, such as Ethereum, I
17 actually use your UST at restaurants and convenience 17 had noticed that the community in Terra is just
18 stores.                                                  18 something that you cannot even describe. The people
19         UNIDENTIFIED SPEAKER: Fuck yeah.                 19 that are a part of the community are really outspoken.
20         UNIDENTIFIED SPEAKER: Literally everywhere 20 What do you guys -- and this is a question to each of
21 you go, you'll be able to use your UST. And that's our   21 the panel members. What do you guys think makes the
22 singular purpose, that you can use your UST. And so, 22 community about Terra so special?
23 that's what we're building at Alice.                     23         UNIDENTIFIED SPEAKER: Accessibility, willing
24         UNIDENTIFIED SPEAKER: Okay, okay. Before I 24 to work with each other. I mean, we've reading devs
25 let you go, before I let you go, before I let you go,    25 with other teams when they need them. They've given us

412433.20220929-HQ                                                                                              Pages 101 - 104
               Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 28 of 31

                                                     Page 105                                                          Page 107
 1 devs when we need them. Like, Tom -- Tom Norwood with         1 buy a house. Nobody wants that. We just want to
 2 Loop (phonetic) like literally gave us a couple of devs       2 empower people. So keep the ethos, keep the message.
 3 for a little while. Just like, hey, if you all need           3 Be the people you already are in this room. And don't
 4 these guys here, work on it for a little bit, give them       4 lose that. It’s not about competing with Ethereum; it's
 5 back, please give them back. I gave them back. But            5 about making sure every single person in the world has a
 6 it's like that. Like, I mean, I can literally walk into       6 chance to interact with a decentralized protocol once in
 7 any project and be like, yo, what's going on today? How       7 their life that makes them better than they were before
 8 can we help? What do you need? Let's get on a Zoom.           8 on their own terms, on their own merits, and I hope -- I
 9 Let's talk for a while. I think that's the biggest            9 hope to heck that every single person in the world finds
10 piece. And it's really rare to find that.                    10 a community like this one.
11          Now, of course, this is a really small              11         UNIDENTIFIED SPEAKER: Ah, yeah. I mean, the
12 community. Pretty tightknit. It's growing, and these         12 Terra community is really what drew me in, what got me
13 days are going to last for a while, as long as we can,       13 building in crypto, and what made me quit my job and
14 but eventually, it won't be like that. Ethereum, oh,         14 take the leap. And I really just think the Terra
15 Ethereum. Recovering. Recovering. I'm a recovering           15 community is very unique in the entire -- not even the
16 ETH addict. So -- yeah. So -- but those communities          16 crypto space, but just as a whole. Everyone was
17 eventually, they grow out and then they get -- they          17 extremely welcoming. People are quick to answer
18 fracture, they get too big. You get tribalism. You           18 questions online, whether you're on Twitter, Telegram,
19 get, you know, gangs and all that kind of stuff.             19 Discord, just very vibrant community, ready to lift each
20          UNIDENTIFIED SPEAKER: I mean, just to that          20 other up.
21 point, the hardest thing you can do is scale an              21         I'm ready to discuss difficult topics, too.
22 ecosystem and scale its ethos. And you kind of have to       22 So, there's a lot that's come up and it goes back and
23 know what you stand for from the first point. And I          23 forth, and it reaches resolution, and the community is
24 think that the ruthless focus in the Terra community on      24 stronger as a result. And I think it's that shared
25 what they stand for from an ethos perspective, the           25 ethos, you know. Like, everyone is truly invested in
                                                     Page 106                                                          Page 108
 1 uncompromising perspective on like, if a stablecoin is        1 Terra, and not just in the financial sense, but in the
 2 going to be the stablecoin, it needs to be the most           2 vision of what's being built and how we're all in it
 3 decentralized stablecoin. That's an ethos. And wanting        3 together. And it's just -- it's fucking beautiful. So
 4 to keep at every level of scale for Secret, like, having      4 thank you all.
 5 a privacy ethos, that's an ethos. And I think what the        5         UNIDENTIFIED SPEAKER: What do you think, Do?
 6 Terra community does better than any other community          6         MR. KWON: It's gone for a while, sort of
 7 with a decentralization ethos is that they really bake        7 forget the question.
 8 that into every piece of communication. They build it         8         UNIDENTIFIED SPEAKER: All right. We'll just
 9 into every application that's on the network, comes back      9 do one last question from Twitter. And that's from
10 to that ethos, comes back to that stablecoin. The only       10 Archangel Raphael. And he says where do the panelists
11 way that those ethos scale is if every single person in      11 see themselves in five to ten years? We'll start with
12 the community understands that message, understands the      12 Chauncy, and we'll end with Do. And then after that,
13 important of that message and what it means at the           13 it's just the after party, and whoever hangs out to the
14 protocol level and at the product level.                     14 end, meet me at the table, and we'll try to get loot
15        So the Terra community is a bunch of                  15 bags, but there's definitely not going to be enough.
16 decentralization evangelists, and I know we have a lot       16 But I've got little things and so, I've got little
17 of privacy evangelists in the crowd as well. Ethos can       17 extras, but I don't know how to do the first come, first
18 scale if everybody's bought into it. If they understand      18 serve. We can't redo the list because Do is Do, and --
19 what it stands for. We all have a responsibility to          19 yeah, we can't check. So meet me at the table, and
20 come out of this room and evangelize decentralization as     20 we'll try to get you a loot bag. Enjoy the after party.
21 a ethos, privacy as an ethos. If we come out of here         21 But we'll -- okay, you tweeted out show up, and you'll
22 and we're evangelizing, you know, number go up, that --      22 sneak them in. The first people at the door were
23 that doesn’t really scale, you know, unless you want to      23 showing me your tweets. That was it. Yeah. Okay.
24 dilute every person in the world and like, you know, you     24 Chauncy, where do you see yourself in five years, and
25 can have a ten trillion dollar protocol but nobody can       25 then we'll pass it down.

412433.20220929-HQ                                                                                            Pages 105 - 108
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 29 of 31

                                                       Page 109                                                        Page 111
 1         CHAUNCY: In five years, I see myself                    1 want to help them get their faster, man. I wish that
 2 continuing my homestead with my family. Doing that              2 had been me. So thank you guys for being a part of this
 3 whole thing. I'm not going to be buying any yachts, but         3 fucking awesome movement. It's a joy, and you're all a
 4 I do imagine a world where charities and nonprofits             4 joy.
 5 really are financially free. They don’t have to spend           5        UNIDENTIFIED SPEAKER: So these guys really
 6 money on fundraising or spend activity on that because          6 inspirational and they give you -- right, they give you
 7 they can just focus on their actual goals. And any              7 all these warm and fuzzy stuff, right? I'm -- yeah, I'm
 8 donations they get on top are spent on growth and               8 not that guy, all right? So I'll just be honest with
 9 expansion.                                                      9 you. In five years, I hope I'm building shit, okay?
10         We're aligned with the 17 UN sustainable               10 I'm an engineer. I've been doing this for 29 years. I
11 development goals. They tackle everything from, you            11 started with I was ten years old. I love doing it. And
12 know, ending poverty and hunger to climate change,             12 I hope I'm building software in five years, in ten
13 sustainable housing and development. And so I see if we        13 years. Because that's what I really like doing. I like
14 can attack all of those goals, through all the different       14 building things and seeing things work and like, doing
15 charities in the index and the Terra charity alliance,         15 stuff. That's what it is. I'm not very inspirational
16 which is just again, an absolutely incredible thing, you       16 on this stuff, but I'll be honest. That's where I want
17 know, a few months ago, I don't think I would have been        17 to be.
18 believing what I’m saying right now. But I actually            18        UNIDENTIFIED SPEAKER: All right. So when I
19 truly, truly believe that it's absolutely an achievable        19 gave my speech, I said I was four bottles of
20 future.                                                        20 (inaudible). Now, I'm a few more in. So what was the
21         UNIDENTIFIED SPEAKER: The future of this               21 question?
22 space is the people that come into this space who right        22        UNIDENTIFIED SPEAKER: Five -- we'll take it
23 now are sitting, you know, on a high school campus, on a       23 down to five minutes for you. Okay? Where do you see
24 college campus, wondering what they're going to do with        24 yourself in five minutes?
25 their lives. So in five years, I hope I'm standing on a        25        UNIDENTIFIED SPEAKER: So in five minutes,
                                                       Page 110                                                        Page 112
 1 college campus at like a campus recruiting event, and           1 I'll probably be puking. But let me tell you about five
 2 half the room is completely abandoned Facebook, Google          2 years. Okay. So I didn't think it was possible, but
 3 tables with like, really sad-looking recruiters                 3 the -- the only reason why we work so hard at Terraform
 4 wondering why nobody wants to do their web to                   4 Labs and you know, like, I genuinely work like, 20 hours
 5 surveillance economy anymore.                                   5 a day and like, at least six days a week. And on most
 6         And on the other side of the room is all the            6 weeks, I work more. But it's because I like to believe
 7 crypto entrepreneurs, everybody who was self-sovereign,         7 that in sort of a -- the world that we live in when
 8 everybody who tried to build something bigger than              8 there's inherent tension in a fight for decentralization
 9 themselves from like, age 21 and earlier, like, I wish          9 was people like Cody and Tor and Chauncy fighting for
10 this had been a thing when I was 18. I would've gotten         10 decentralization. And there are other people that are
11 into it. It wasn't -- it wasn't, so I was a degenerate         11 adversaries to that vision.
12 poker player. But, but you don't have to end up like           12         You need to give it one hundred percent to
13 me. You can still end up like Do. It's cool. I hope            13 win. Am I right? One hundred percent. So what I'm
14 I'm sitting on a college campus in five years and I say        14 going to do over the next five years is to give it my
15 shit like I say now on stage about like, being -- being        15 all, one hundred percent. I want to make sure that we
16 self-sovereign, wanting to solve problems for the world,       16 win, and that means the Terra ecosystem. That means the
17 wanting to work with the people around you, not in the         17 Cosmos technologies win, and that means that stablecoins
18 context of a centralized organization, but in the              18 rule across the (inaudible).
19 context of a community and nobody says how would I do          19         And what I want to be doing in five years is
20 that? They say I'm already doing it. So if you want to         20 when Terraform Labs is defunct, I would like to create
21 be a part of that, just keep -- if you're already in           21 another company whereby we create cool different
22 this room, you're already doing it, but let's -- let's         22 applications on top of, you know, it could be on top of
23 be on the campuses in the future and look at a bunch of        23 the Terra blockchain or using Terra stablecoins in some
24 people who are already better than we are right now            24 sense. But it'll be a cute hobby. Kind of like what
25 because they get it, and I just want to help them -- I         25 the blockchain guys are doing. Yeah.

412433.20220929-HQ                                                                                             Pages 109 - 112
                Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 30 of 31

                                                      Page 113                                                         Page 115
 1         So I want to be those Boomers that nobody pays         1 everyone here in the room, $50 in UST. All right. So
 2 real attention to, but you know, like, yeah, those guys        2 at the end of the night when you guys get your gift
 3 are okay because (inaudible) the OGs. But like, they're        3 bags, make sure redeem the code for free $50 in UST.
 4 not really relevant. So I want to be in that situation         4 But wait, there's more. To everyone who redeems it, we
 5 where I am greatly humbled by the pace of innovation           5 will select one person to give $1,000 in UST. Let's go.
 6 that's coming in into crypto, and I am out-competed by         6 So make sure to redeem that.
 7 everyone out there. And -- let's be real. That's               7        I just wanted to share a little bit about the
 8 what's happening to Adam Beck.                                 8 cash treasury. It's a blockchain-based product, offers
 9         Yeah. So as a closing thought, Anan                    9 high and stable yields. You can get all the information
10 (phonetic) intern. Anan intern. Come. You. Yes.               10 on the cash treasury websites. It's a great product
11 Yes.                                                          11 that helps institutions get into the DeFi space. So,
12         UNIDENTIFIED SPEAKER: Am I your new intern?           12 I'm really excited for it. Just check out the cash
13         UNIDENTIFIED SPEAKER: No. So this is a                13 website for more information. So, just wanted to share
14 counterproductive event because Anan intern probably          14 that with you guys. And have a great night.
15 didn't want to be doxed. Right. But he got facial             15        UNIDENTIFIED SPEAKER: All right. Let's give
16 surgery for this event. So you can be assured that this       16 one last round of applause for our panelists, Kevin,
17 is not his real face. But I feel like you're making --        17 Chauncy, Tor, Cody, Do. You guys can go ahead, big
18 wait, you're not Anan intern. That's not (inaudible)          18 shoutout to Ryan. This wouldn't have happened without
19 intern.                                                       19 him.
20         UNIDENTIFIED SPEAKER: That's why I thought I          20        UNIDENTIFIED SPEAKER: Oh, yeah, yeah.
21 was your new intern. I was like, shit, I did                  21        UNIDENTIFIED SPEAKER: Yep.
22 (inaudible).                                                  22        UNIDENTIFIED SPEAKER: Also all the videos,
23         UNIDENTIFIED SPEAKER: Okay. Go away. Go               23 all the teams that got together and sponsored this
24 away. Where the fuck is Anan intern?                          24 event.
25         UNIDENTIFIED SPEAKER: I don't think he's              25        UNIDENTIFIED SPEAKER: Oh, Mike right here
                                                      Page 114                                                         Page 116
 1 going to show up now.                                          1 stayed up countless hours to make all these beautiful
 2        UNIDENTIFIED SPEAKER: Oh, shit. Okay. Pete,             2 graphics. Just incredible.
 3 you say something.                                             3         UNIDENTIFIED SPEAKER: This guy did these
 4        PETE: Yeah. Woo. Are we done with Q&A? Can              4 incredible wraps.
 5 I --                                                           5         UNIDENTIFIED SPEAKER: Ryan helped organize
 6        UNIDENTIFIED SPEAKER: I think Q&A is good,              6 this event too over here. And lots of other people
 7 but then the astronaut has something. We're not fully          7 helped. Let's give them a big round of applause. This
 8 sure.                                                          8 is all about community. So, I hope you all will hang
 9        (crosstalk)                                             9 out. We have the venue for another hour and a half. So
10        UNIDENTIFIED SPEAKER: Let's do it to the               10 get more drinks. Party.
11 astronaut panel discussion --                                 11         UNIDENTIFIED SPEAKER: Talk about tech.
12        UNIDENTIFIED SPEAKER: -- and I'll close this           12 Whatever you want to do. We'll see you in an hour and a
13 out.                                                          13 half for a special giveaway, so.
14        UNIDENTIFIED SPEAKER: -- and then, yeah.               14         UNIDENTIFIED SPEAKER: All right. Take care.
15        UNIDENTIFIED SPEAKER: Yeah, let's do that one          15         (music)
16 and then I'll close this out.                                 16         (End of recording.)
17        UNIDENTIFIED SPEAKER: Cool. Sounds good.               17                  *****
18        UNIDENTIFIED SPEAKER: What's up? What's up?            18
19 What's up? Sorry to keep you guys waiting, but I'm            19
20 (inaudible) the astronaut, and I just wanted to share         20
21 something I'm really excited about. Something we missed       21
22 earlier on. But it's -- it's a cash treasury. It's            22
23 company-developed by IntelliBridge Technologies. And          23
24 you know, I'm so excited for this product that my             24
25 friends at IntelliBridge are offering to you guys,            25

412433.20220929-HQ                                                                                            Pages 113 - 116
             Case 1:23-cv-01346-JSR Document 33-8 Filed 05/12/23 Page 31 of 31

                                              Page 117
 1            TRANSCRIBER'S CERTIFICATE
 2
 3 I, Desha DeVor, hereby certify that the foregoing
 4 transcript is a complete, true and accurate
 5 transcription of all matters contained on
 6 the recorded proceedings in the Matter of:
 7 MIRROR PROTOCOL, INC.
 8 412433-HQ
 9 2021.09.21 LIVE FROM NEW YORK
10
11
12
13 _________________________ 10/11/2022
14
15
16
17
18
19
20
21
22
23
24
25




412433.20220929-HQ                                                               Page 117
